        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 1 of 173




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


HUAWEI TECHNOLOGIES CO., LTD.,
HUAWEI DEVICE CO., LTD., and
HUAWEI DIGITAL TECHNOLOGIES
(CHENGDU) CO., LTD.

                Plaintiffs,

       VS.                                           Civil Action No. 6:20-cv-00090
VERIZON COMMUNICATIONS, INC.,                        JURY TRIAL DEMANDED
CELLCO PARTNERSHIP D/B/ A VERIZON
WIRELESS, and VERIZON BUSINESS
NETWORK SERVICES, INC.




               Defendants.


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Huawei Technologies Co. Ltd., Huawei Device Co., Ltd., and Huawei Digital

Technologies (Chengdu) Co., Ltd. (collectively, "Huawei" or "Plaintiffs") hereby allege as

follows against Verizon Communications, Inc., Cellco Partnership d/b/a Verizon Wireless, and

Verizon Business Network Services, Inc. (collectively "Verizon" or "Defendants"):

                                        THE PARTIES

       1.      Plaintiff Huawei Technologies Co., Ltd. ("Huawei Technologies") is a Chinese

corporation with its principal place of business at Bantian, Longgang District, Shenzhen,

People's Republic of China.

       2.      Plaintiff Huawei Device Co., Ltd. ("Huawei Device") is a Chinese corporation

with its principal place of business at Songshan Lake Science and Technology Industi·ial Zone,

Dongguan, Guangdong, People's Republic of China.
          Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 2 of 173




         3.    Plaintiff Huawei Digital Technologies (Chengdu) Co., Ltd. (“Huawei Digital”) is

a Chinese corporation with its principal place of business at No.1899 Xiyuan Avenue, High-tech

Zone, Chengdu, Sichuan, People’s Republic of China.

         4.    Defendant Verizon Communications Inc. (“Verizon Communications”) is a

Delaware corporation with a principal place of business at 1095 Avenue of the Americas, New

York, New York 10036. Verizon Communications may be served through its registered agent,

The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

DE 19801.

         5.    Defendant Cellco Partnership d/b/a Verizon Wireless (“Cellco Partnership”) is a

Delaware partnership with its principal place of business at 1 Verizon Way, Basking Ridge, New

Jersey 07920. Cellco Partnership is wholly owned by its corporate parent, Verizon

Communications, and together with Verizon Communications is collectively referred to as

“Verizon Wireless.” Cellco Partnership may be served through its registered agent, The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE

19801.

         6.    Defendant Verizon Business Network Services, Inc. (“Verizon Business”) is a

Delaware corporation with a place of business in at least San Antonio, Texas. Verizon Business

may be served through its registered agent for service of process in Texas at CT Corporation

System, 1999 Bryan St., Suite 900, Dallas, Texas 75201.

                                JURISDICTION AND VENUE

         7.    This action arises under the patent laws of the United States, 35 U.S.C. § 1, et seq.

This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1331

and 1338.




                                                 2
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 3 of 173




        8.      The patents-at-issue in this action are U.S. Patent Nos. 7,965,709 (“the ’709

Patent”), 8,154,986 (“the ’986 Patent”), 10,027,693 (“the ’693 Patent”), 7,609,288 (“the ’288

Patent”), 9,521,366 (“the ’366 Patent”), 7,715,832 (“the ’832 Patent”), and 8,761,839 (“the ’839

Patent”) (collectively, the “Asserted Patents”).

        9.      The Court has personal jurisdiction over Verizon at least because it has

continuous business contacts in the State of Texas and in this District. Verizon has engaged in

business activities including transacting business in this District and purposefully directing its

business activities, including the provision of infringing communications networks and services,

and the use, marketing, sale or offer for sale of mobile devices and services, such as Verizon’s

Smart Family Service and One Talk Service and Cisco’s Webex service in this District, and the

sale or offer for sale of services and goods to this District to aid, abet, or contribute to the

infringement of third parties in this District. For example, Verizon—either directly or through

those acting on its behalf—offers infringing communications networks and services in this

District, as shown, e.g., at https://www.verizonwireless.com/featured/better-matters/:




As another example, Verizon—either directly or through those acting on its behalf—has stores

and/or authorized retailers in this District in which infringing communications networks and

services are offered for sale. See https://www.verizonwireless.com/stores/texas/. For example,


                                                   3
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 4 of 173




Verizon through each of the named parties has various places of business within this District,

including data centers at 222 Rotary, San Antonio, TX, 78202 and 2525 Ridgepoint Drive,

Austin TX, 78754, and numerous retail stores including the following examples in Waco:




https://www.verizonwireless.com/stores/storesearchresults/?lat=31.549333&long=-

97.14666950000003&q=waco%2Ctx#/Search. Verizon also has a call center in El Paso. See

https://www.verizon.com/about/careers/we-are-global#featured-region-6753. Verizon also

offers enterprise products and services to Texas “[s]tate agencies, cities, counties, public school

districts, and universities” through the Texas Department of Information Resources in Austin.

See, e.g., https://enterprise.verizon.com/solutions/public-sector/state-local/contracts/texas/;

https://dir.texas.gov/; see also https://www.marketwatch.com/press-release/verizon-invested-

more-than-348-million-in-texas-wireline-telecommunications-infrastructure-in-2013-2014-03-31

(“Verizon Enterprise Solutions oversees all of Verizon’s solutions for large-business and

government customers in Texas and globally . . .”).

       10.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391 and 1400(b). As

shown above, Verizon has multiple regular and established place of business in this District and

is engaged in activities including: transacting business in this district and purposefully directing




                                                  4
          Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 5 of 173




its business activities, including the installation, maintenance, and use of infringing

communications networks, services, and other technologies in this District, and the sale or offer

for sale of services and goods to this District to aid, abet, or contribute to the infringement of

third parties in this District.

                          HUAWEI’S INNOVATION AND RESEARCH

        11.     Founded in 1987, Huawei is a global leader of information and communication

technology (“ICT”) solutions. Continuously innovating to meet customer needs, Huawei is

committed to enhancing customer experience and creating maximum value for

telecommunications carriers, enterprises, and consumers. Huawei’s telecom network equipment,

IT products and solutions, and smart devices, such as telepresence products, transport and core

network equipment, fixed and radio access products, and fiber infrastructure products are

deployed and used in 170 countries and regions and serve over one-third of the world’s

population. Huawei is also a leader in research, innovation, and implementation of future

networks.

        12.     Indeed, R&D has been at the core of Huawei’s business. Huawei started its

business reselling third-party telecommunication products, but shortly thereafter Huawei chose

to shift its focus by expanding its own R&D and developing its own products. Since then,

Huawei has heavily invested in R&D and routinely spends no less than 10% of its annual

revenue on innovation. For example, Huawei ranks fifth globally in The 2019 European Union

Industrial R&D Investment Scoreboard, a report published by the European Commission.

        13.     Over the past decade through 2018, Huawei has invested nearly $73 billion in

research and development in total. In the next five years, Huawei plans to invest $100 billion.

Huawei’s R&D efforts are now focused on addressing customer needs, as well as long-term

technology research and standardization. In pursuit of these goals, Huawei has assembled a


                                                  5
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 6 of 173




global team with thousands of scientists and top engineers in the United States, Europe, and

Japan, to staff its R&D department. Globally, Huawei has 14 R&D Institutes and Centers, 36

joint innovation centers and 45 training centers. Indeed, about 45% of Huawei’s global

workforce – over 80,000 employees in 2018 – works in the Research and Development

Department. Huawei’s innovations are central to important cutting-edge technologies, including

ultra-broadband solutions, such as 100G super-fast data transmission, LTE, and WiMAX

wireless networks.

       14.     As a result of Huawei’s substantial dedication to R&D in the telecommunications

industry over the past three decades, Huawei has contributed to the evolution of

telecommunication networks from the Wired Communication Age, into the Wireless Age, and

from 2G, 3G, and 4G to advanced 5G networks.

       15.     Over the course of this evolution, Huawei has been responsible for several of the

industry’s notable achievements and milestones. In the Wired Communication Age, due to its

heavy investment in R&D in its early years, Huawei successfully launched a new line of fixed

network switch products in 1993, the centerpiece of which was the C&C 08 switching product,

which proved to be a tremendous success in rural areas of China, with a rapid coverage of over

300 regional networks.

       16.     Entering the Wireless Age, Huawei launched the first-ever Global System for

Mobile Communications (“GSM”) infrastructure products engineered solely by a Chinese

company in 1997. Three years later, Huawei’s revenue had reached $1.9 billion, including $100

million from overseas sales. Along with great market success, Huawei has been significantly

ahead of its competitors in bringing major innovations in cellular technology to market. Shortly

after its success with distributed base stations, recognized as customer-centric innovations,




                                                 6
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 7 of 173




Huawei was the first infrastructure supplier to launch the unique SingleRAN technology in 2008,

which is now the industry norm. The SingleRAN solution supports GSM, universal mobile

telecommunications system (“UMTS”), code division multiple access (“CDMA”), WiMAX, and

Long-Term Evolution (“LTE”), i.e., all relevant 2G, 3G, and 4G standards, and all in a common

platform. In 2009, Huawei deployed the world’s first commercial 4G LTE network in Oslo,

Norway, sharing the first commercial 4G LTE network with Ericsson in TeliaSonera. In 2010,

Huawei achieved the world’s fastest LTE-A downlink speed, up to 1.2 Gbps at CTIA Wireless

2010 in Las Vegas, Nevada, and successfully demonstrated simultaneous voice calling and high

definition video streaming over LTE and LTE-A networks for Cox Communications, the third-

largest cable provider in the United States.

       17.     The above accomplishments and others earned Huawei the awards for “Best

Contribution to R&D for LTE” and “Best Contribution to LTE Standards” at the LTE North

America Awards in 2011. Huawei also won the “Most innovative service launch enabled by

IMS” with its “Convergent Conference” solution at the 2012 IP Multimedia Subsystem (“IMS”)

World Forum, the “Best Integrated IMS Solution” award at the 2013 IMS World Forum, and the

“Best VoLTE Product” for its end-to-end (“E2E”) voice and video over LTE (“V2oLTE”)

solution and “Most Innovative Virtualized IMS Solution” for its Cloud IMS solution at the 2014

IMS World Forum in Barcelona, Spain.

       18.     At the LTE World Summit, Huawei also won numerous awards, such as the “Best

LTE traffic management product” and “Innovation in HetNet development” awards in 2014, and

the “Best NFV Innovation of the Year” and “Biggest Contribution to 5G Development” awards

in 2015. Huawei was the only company that won two awards in both years.




                                               7
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 8 of 173




       19.    After winning the “Best Managed Services Innovation Award” at Managed

Services World Congress 2016, Huawei won the “Wireless Infrastructure Innovation” award and

the “Cloud Innovation of the Year” award at the 2016 Telecoms Awards Ceremony in London

for Operation Web Services (“OWS”) due to Huawei’s achievements in software defined

operation research to enable ICT Managed Services. In 2017, Huawei won the Network

Functions Virtualization (“NFV”) Innovation Award for its NFV Integration Service at the

World Communication Awards organized by Total Telecom.

       20.    In 2018, Huawei’s RuralStar, WTTx, and PoleStar solutions respectively won the

GSM Association’s (“GSMA’s”) Best Mobile Innovation for Emerging Markets award, the

International Telecommunication Union’s (“ITU’s”) Global Corporate Award for Sustainable

Development, and the GSMA’s Outstanding Mobile Contribution to the United Nation

Sustainable Development Goals in Asia award. Huawei’s prefabricated modular data center

solution and modular Uninterruptable Power Supply (“UPS”) continue to hold the largest market

share globally. Huawei also won Datacenter Dynamics’ (“DCD’s”) global annual Living at the

Edge award.

       21.    At Internet of Things (“IoT”) Solutions World Congress 2018, Huawei’s

OceanConnect Internet of Vehicles (“IoV”) Platform, which helped Groupe PSA become a

leader in mobility services, won the award for Business Transformation.

       22.    Huawei was also awarded a First Class Progress in Science and Technology Prize

for 2018 for unveiling the blade base station. Among other awards, Huawei has also been

repeatedly named one of the Most Innovative Companies by Fast Company, and one of the

World’s 50 Most Innovative Firms by BCG.




                                               8
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 9 of 173




        23.    Huawei has also won numerous awards and substantial industry recognition for its

infrastructure and enterprise products, such as video conferencing and data communication

products. As an example, Huawei was awarded the Frost & Sullivan Asia-Pacific Video

Conferencing Endpoints Market Leadership Award at the 2018 Asia-Pacific Information and

Communication Technologies (“ICT”) awards ceremony. The award recognized Huawei’s

market leadership, technology and solution innovation, and customer value proposition in the

video conference industry. As another example, Huawei’s data communication products such as

data center products including CloudEngine switches and controller were awarded Gartner Peer

Insights Customers’ Choice in 2019 and the “Best of Show Award” at Interop Tokyo in 2016,

2017, and 2018. And Huawei’s Wi-Fi 6 products AirEngine AP, Router NetEngine 8000 and

NetEngine 9000 400G were awarded the “Best of Show Award” grand prize at Interop Tokyo

2019.

        24.    Huawei has also won numerous awards and substantial industry recognition for its

smartphones and other mobile devices. As an example, Huawei received the European Image

and Sound Association (“EISA”) Best Smartphone 2019-2020 award for Huawei’s P30 Pro. The

EISA recognized the P30 Pro’s camera as being far beyond any of its competitors, including its

low-light capabilities, portrait mode, and its ultra-wide and periscopic 5x telephoto lenses.

Huawei also received the Technical Image Press Association (“TIPA”) Best Photo Smartphone

2019 award for the P30 Pro. In December 2019, independent benchmark organization DxoMark

Image Labs gave Huawei’s Mate 30 Pro 5G the highest DXOMARK Camera score ever

awarded, praising its image quality, autofocus, and zoom performance. Huawei smartphones

received two awards from the GSMA at Mobile World Congress 2019: Huawei’s Mate 20 Pro




                                                 9
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 10 of 173




won Best Smartphone and Huawei’s Mate X foldable 5G smartphone won Best Connected

Mobile Device.

        25.    During the past 20 years, Huawei has also endeavored to drive the mobile

industry forward through collaborations on commercialization, innovation, and standardization.

According to Current Analysis, Huawei is the clear overall leader in such efforts, due to the

strength of its IT product portfolio, its broad variety of network solution options including high-

and low-capacity offerings, and its range of power output levels and architectures. Huawei also

invests in open source communities and partners with major industry players to innovate in

emerging domains, such as cloud computing and the Internet of Things.

        26.    As a result of Huawei’s commitment to innovation and significant long-term

investment in R&D, Huawei has become one of the world’s largest patent holders. As of

December 31, 2019, Huawei holds more than 85,000 issued patents, covering all major

jurisdictions of the world, including 40,000 Patents granted in the United States and Europe.

Huawei’s significant efforts in research and development demonstrate the value that Huawei

places on innovation, and on sharing its efforts with the public, in return for a limited right to use

its own inventions exclusively and/or to license its inventions to other companies willing to pay a

reasonable royalty for their use.

                      VERIZON’S USE OF HUAWEI’S INNOVATIONS

        27.    Verizon has knowingly used, and is using, Huawei’s patented technology without

a license.

        28.    Verizon creates, promotes, uses, maintains, and provides access to infringing

technologies and services (“Infringing Technologies & Services”) that incorporate and/or utilize

Huawei’s patented technology, including through the utilization and incorporation of network

infrastructure such as Cisco Integrated Service Routers, Aggregation Services Routers, Network


                                                  10
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 11 of 173




Convergence Systems, Nexus Switches, Catalyst Switches, and Clouds Services Router 1000v

series, which facilitate communications throughout Verizon’s networks. For example, Verizon’s

“Enterprise Solutions offers traditional circuit-based network services, and advanced networking

solutions including Private IP, Ethernet, and Software-Defined Wide Area Network, along with

our traditional voice services and advanced workforce productivity and customer contact center

solutions.” Verizon’s 2019 Annual Report at 88.

       29.     Verizon also creates, promotes, uses, maintains, and provides access to its

Infringing Technologies & Services that incorporate and/or utilize Huawei’s patented technology

through the utilization and incorporation of network infrastructure and services such as Juniper

MX series routers and T series routers, SRX Series and/or virtualized SRX (vSRX) Services

Gateways, which support Verizon’s Infringing Technologies & Services.

       30.     Verizon also creates, promotes, uses, maintains, and provides access to its

Infringing Technologies & Services that incorporate and/or utilize Huawei’s patented technology

through its distribution and/or reselling of services such as Cisco Webex, and distribution of

applications such as the Smart Family application and the One Talk application.

       31.     Verizon has profited greatly from the Infringing Technologies & Services. See

Verizon 2019 Annual Report at p. 12 (“Total Wireline segment operating revenues for the year

ended December 31, 2018 totaled $29.8 billion . . . In 2018, Enterprise Solutions revenues were

$8.8 billion, representing approximately 30% of Wireline’s aggregate revenues.”).

                                LICENSING NEGOTIATIONS

       32.     To protect its intellectual property rights, Huawei contacted Verizon on February

7, 2019 to discuss Verizon’s need for a license to Huawei’s patents. Huawei specifically

identified patents from its portfolio and specific services offered by Verizon that infringed

Huawei’s patents, such as those at issue here.


                                                 11
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 12 of 173




       33.     Because of Huawei’s notice, Verizon has known about at least the ’709 Patent,

the ’986 Patent, and the ’693 Patent at least as early as February 7, 2019.

       34.     Huawei then traveled from China and met in person with Verizon – in New York

near Verizon’s headquarters – on March 28, 2019 to discuss Verizon’s need for a license to

Huawei’s patents. Huawei identified additional patents from its portfolio and services offered by

Verizon that require a license to Huawei’s patents.

       35.     On March 29, 2019, Huawei tried to move the licensing discussions forward in a

cooperative manner by providing claim charts to Verizon. Those claim charts included the ’709

Patent, the ’986 Patent, the ’693 Patent, the ’288 Patent, the ’366 Patent, and the ’832 Patent.

       36.     Because of Huawei’s notice, Verizon has known about the ’288 Patent, the ’366

Patent, and the ’832 Patent at least as early as March 29, 2019. And Huawei provided additional

notice of the ’709 Patent, the ’986 Patent, and the ’693 Patent at least as early as March 29, 2019.

       37.     On June 4th and 5th, 2019, Huawei representatives from China again met in-person

with representatives from Verizon in New York and discussed claim charts selected by Verizon

concerning a wide variety of technologies.

       38.     On June 18, 2019, Huawei representatives spoke with Verizon representatives via

telephone. Verizon committed to identifying issues and concerns regarding the claim charts

discussed during the June 4th and 5th meeting. Huawei agreed to travel for yet another in-person

meeting in New York, and Verizon advised it would identify more Huawei claim charts to be

discussed at their next meeting.

       39.     On July 30-31, 2019, September 3-4, 2019, and November 21-22, 2019, Huawei

representatives from China met in-person with representatives from Verizon in New York and




                                                 12
           Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 13 of 173




discussed the additional claim charts. Those claim charts included the ’709 Patent, discussed on

July 31, and the ’832 Patent, discussed on September 4.

        40.     On January 21, 2020, Huawei representatives from China again met in-person

with representatives from Verizon in New York, but there was no substantial progress and thus

no licensing agreement was reached.

        41.     Because Verizon has not accepted Huawei’s numerous flexible approaches during

the year-long negotiations, Huawei is compelled to now enforce its patent rights through this

lawsuit.

                    COUNT I: INFRINGEMENT OF PATENT NO. 7,965,709

        42.     Huawei realleges and incorporates by reference Paragraphs 1-41 above, as if fully

set forth herein.

        43.     The U.S. Patent Office duly and properly issued the ’709 Patent, entitled “Bridge

Forwarding Method and Apparatus,” on June 21, 2011. Huawei Technologies is the assignee of

all right, title, and interest in and to the ’709 Patent and possesses the exclusive right of recovery

for past, present, and future infringement. Each and every claim of the ’709 Patent is valid and

enforceable. A true and correct copy of the ’709 Patent is attached hereto as Exhibit A.

        44.     The ’709 Patent provides novel, useful and more effective and efficient

techniques for bridge forwarding between multiple Virtual Local Area Networks (“VLANs”)

that overcome the problems of the prior art and thereby improve the functioning of computer and

network equipment.

        45.     The ’709 Patent is generally directed to a novel and inventive technical solution to

a problem relating to computer and networking technology, and in particular to the problem of

“bridge forwarding of [] Ethernet frames between multiple VLANs.” The ’709 Patent at

Abstract. The background section of the ’709 Patent explains in reference to prior art bridge


                                                  13
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 14 of 173




forwarding that there are “two approaches for forwarding the frames of the Ethernet at present:

Layer 2 Ethernet bridge and Layer 3 IP route.” Id. at 1:13-15. “FIG. 1 is a flow chart illustrating

the bridge forwarding within one VLAN in the prior art.” Id. at 1:32-33. Figure 1 is shown

below:




         46.   In reference to the prior art, the ’709 Patent explains that “the relationship

between the VLAN and the Virtual Switching Instance (“VSI”) is [a] one-to-one relationship,”

which means “the multiple-to-one relationship between multiple VLANs with one VSI is not

supported, the Ethernet frames can only be forwarded within one VLAN by means of Layer 2

Ethernet bridge forwarding.” Id. at 2:7-12. In reference to prior art methods for bridge

forwarding across VLANs, the ’709 discloses that “[i]f the frames need to be forwarded across


                                                 14
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 15 of 173




VLANs, the Layer 3 IP routing must be adopted.” Id. at 2:12-13. The ’709 Patent further

explains that in the prior art, “the Ethernet frames can only be broadcasted to one VLAN by

means of bridge forwarding, and broadcasting to multiple VLANs by means of bridge

forwarding is not supported.” Id. at 2:13-16. As such, broadcasting to multiple VLANs using

bridge forwarding was not supported. Thus, prior to the inventions of the ’709 Patent, there

existed a need for a more thorough and efficient method of bridge forwarding between multiple

VLANs.

       47.     The inventions of the ’709 Patent provide technical solutions to the problems in

the prior art described above. The ’709 Patent seeks to address these and other problems in the

prior art by providing a non-conventional, novel solution that allows the extension of bridge

forwarding to provide cross-VLAN bridge forwarding of frames. The ’709 Patent explains that

“the cross-VLAN bridge forwarding of frames is realized by establishing the relationship

between the {Port, VLAN} and the VSI and implementing bridge forwarding of frames among

different {Port, VLAN}s, and the multiple-to-one relationship between multiple VLANs with

one VSI.” Id. at 3:23-32.

       48.     The inventions of the ’709 Patent provide technical solutions to the problems in

the prior art described above. The ’709 Patent describes, for example, “a bridge forwarding

method and a bridge forwarding apparatus to realize cross-VLAN bridge forwarding of frames.”

Id. at 2:20-22. The ’709 Patent next describes supporting the multiple-to-one relationship

between multiple VLANs with one VSI. The ’709 Patent then describes source port filtering to

prevent forwarding loops. The ’709 Patent also discloses that “bridge forwarding among multi-

layer VLAN IDs is supported by the present invention,” which is not present in the prior art. Id.

at 3:36-38.




                                               15
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 16 of 173




       49.        The inventions of the ’709 Patent improve computer and network equipment

functionality by improving and solving problems in a computer or networked device’s capability

of performing bridge forwarding between multiple VLANs with better efficiency. The

inventions of the ’709 Patent provide a computer-based solution to a computer-specific problem.

The inventions of the ’709 Patent are improvements over the prior art and other techniques for

bridge forwarding, and the ’709 Patent enables a combination of features not present in the prior

art and other techniques.

       50.        For example, the inventions of the ’709 Patent provide for improved computer

and network operation by enabling bridge forwarding to more efficiently use resources and

prevent forwarding loops. The specification discloses that “during the process of frame

forwarding, whether the input/output port is the same as the input/output VLAN ID is

determined, so source port filtering can be implemented effectively to prevent forwarding loops.”

Id. at 3:33-36.

       51.        As another example, the inventions of the ’709 Patent provide for improved

computer and network operation by providing enhanced methods for bridge forwarding that

include cross-VLAN bridge forwarding of frames. E.g., id. at Abstract.

       52.        The claims of the ’709 Patent contain an inventive concept to improve the

functioning of computers and other networked devices. Claims 1, 4, 7, 16-18, 21, and 23 claim

ordered combinations of activities of a computer or networked device that were new, novel,

innovative, and unconventional at the time the ’709 Patent application was filed. These ordered

combinations are set forth in claims 1, 4, 7, 16-18, 21, and 23 of the ’709 Patent. The ordered

combinations of elements in claim 1, 4, 7, 16-18, 21, and 23 were not well understood, routine or

conventional at the time the ’709 Patent application was filed. The ordered combinations of the




                                                  16
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 17 of 173




inventions of claims 1, 4, 7, 16-18, 21, and 23 are practical, particular, non-conventional and

non-generic techniques of bridge forwarding.

       53.     In violation of 35 U.S.C. § 271, Verizon has directly infringed, contributed to the

infringement of, and/or induced others to infringe at least claims 1, 4, 7, 16-18, 21, and 23 of

the ’709 Patent by, among other things, making, using, offering for sale, selling, and/or

importing into the United States unlicensed systems, products, and/or services that infringe at

least claims 1, 4, 7, 16-18, 21, and 23 of the ’709 Patent. Such unlicensed systems, products,

and/or services include, by way of example and without limitation, Cisco routers supporting

Ethernet Flow Point functionality, including but not limited to the Cisco ASR900 series,

ASR920 series, ASR1000 series, ASR9000 series, Catalyst 6500 series, ISR 4000 series, and

CSR 1000v series routers (“Cisco EFP Products”).

       54.     Cisco EFP Products are operable to forward frames between multiple VLANs.

See, e.g., https://www.cisco.com/c/en/us/td/docs/routers/asr9000/software/asr9k r5-

3/lxvpn/configuration/guide/b-l2vpn-cg53xasr9k.pdf;

https://www.verizon.com/about/news/vzw/2010/01/pr2010-01-07a.

       55.     Cisco EFP Products are operable to receive, via an input port, a frame associated

with a first virtual local area network (VLAN). For example, the Cisco ASR9000 series router is

configured to support Ethernet Flow Point. See, e.g.,

https://www.cisco.com/c/en/us/td/docs/routers/asr9000/software/asr9k_r5-

3/lxvpn/configuration/guide/b-l2vpn-cg53xasr9k.pdf at 11 (“An Ethernet Flow Point (EFP) is a

Layer 2 logical subinterface used to classify traffic under a physical or a bundle interface”).

“You can bridge or tunnel the traffic by many ways from one or more of the router’s ingress

EFPs to one or more egress EFPs.” Id. The Cisco ASR9000 series router can be configured to




                                                 17
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 18 of 173




define data-forwarding behavior. Id. at 15 (“The EFP can be used to designate the frames

belonging to a particular Ethernet flow forwarded in the data path”).

        56.     Cisco EFP Products are operable to obtain an input VLAN identifier (ID)

representing the first VLAN and a destination media access control (MAC) address of the

received frame. For example, the configuration guide discloses:

        An EFP can be regarded as an instantiation of a particular service. An EFP is
        defined by a set of filters. These filters are applied to all the ingress traffic to classify
        the frames that belong to a particular EFP. An EFP filter is a set of entries, where
        each entry looks similar to the start of a packet (ignoring source/destination MAC
        address). Each entry usually contains 0, 1 or 2 VLAN tags. A packet that starts with
        the same tags as an entry in the filter is said to match the filter; if the start of the
        packet does not correspond to any entry in the filter then the packet does not match
        the filter.

Id. at 11.

        57.     As a further example, “[t]he EFP identifies frames belonging to a particular flow

on a given port, independent of their Ethernet encapsulation. . . . The frames can be matched to

an EFP using: VLAN tag or tags.” Id. at 13. The configuration guide further discloses several

forwarding cases, including: “L2 Switched Service (Bridging)—The EFP is mapped to a bridge

domain, where frames are switched based on their destination MAC address.” Id. at 15-16.

        58.     Cisco EFP Products are operable to determine a Virtual Switching Instance (VSI)

corresponding to the combination of the input port and the input VLAN ID. For example, “[a]n

Ethernet Flow Point (EFP) is a Layer 2 logical subinterface used to classify traffic under a

physical or a bundle interface. A physical interface can be a Gigabit Ethernet 0/0/0/1 or a 10

Gigabit Ethernet 0/0/0/0 interface and has ports on the line card. A bundle interface is a virtual

interface, created by grouping physical interfaces together.” Id. at 11. The configuration guide

discloses that “[a]n EFP subinterface is configured to specify which traffic on ingress is vectored

to that EFP. This is done by specifying a VLAN, range of VLANs, or QinQ tagging to match



                                                     18
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 19 of 173




against on ingress. All traffic on ingress is compared to each EFP’s matching criterion, and

processed by that EFP if a match occurs.” Id. at 12. Figure 3 depicts the EFP model:




       59.     The configuration guide further discloses that “[d]ata frames are switched within

a bridge domain based on the destination MAC address” and that “[i]ncoming frames are

mapped to a bridge domain, based on either the ingress port or a combination of both an ingress

port and a MAC header field.” Id. at 186.

       60.     Cisco EFP Products are operable to obtain an output port and an output VLAN

ID, wherein the output VLAN ID represents a second VLAN and wherein the output port and the

output VLAN ID relate to the destination MAC address and the VSI. For example, the Cisco

ASR9000 series routers allows operators to “perform a variety of operations on the traffic flows

when a router is configured with EFPs on various interfaces. Also, you can bridge or tunnel the

traffic by many ways from one or more of the router’s ingress EFPs to one or more egress EFPs.

This traffic is a mixture of VLAN IDs, single or double (QinQ) encapsulation, and ethertypes.”

Id. at 11. For example, “EFP supports [] L2 header encapsulation modifications on both ingress

and egress.” Id. at 15. As a further example, the configuration guide discloses several




                                                19
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 20 of 173




forwarding cases, including “L2 Switched Service (Bridging)—The EFP is mapped to a bridge

domain, where frames are switched based on their destination MAC address.” Id. at 15-16.

        61.   Cisco EFP Products are operable to communicate the received frame and the

output VLAN ID to the obtained output port, wherein the output VLAN ID is different from the

input VLAN ID. For example, the Cisco ASR9000 series router allows operators to perform

numerous L2 header encapsulation modifications on both ingress and egress, which include:

              • Push 1 or 2 VLAN tags
              • Pop 1 or 2 VLAN tags
              ...
              • Rewrite 1 or 2 VLAN tags:
              ...
              • The VLAN ID. 0 can be specified for an outer VLAN tag to generate a
              priority-tagged frame.

Id. at 15.

        62.   Cisco EFP Products are operable to add the output VLAN ID to the received

frame or to substitute the output VLAN ID for the input VLAN ID contained by the frame. For

example, the Cisco ASR9000 series router allows operators to perform numerous L2 header

encapsulation modifications on both ingress and egress, which include:

              • Rewrite 1 or 2 VLAN tags:
              • Rewrite outer tag
              • Rewrite outer 2 tags
              • Rewrite outer tag and push an additional tag
              • Remove outer tag and rewrite inner tag
              ...
              • The VLAN ID. 0 can be specified for an outer VLAN tag to generate a priority-
              tagged frame.

Id. at 15.

        63.   Cisco EFP Products abandon the received frame prior to communicating, if it is

determined that the output port is the same as the input port and the output VLAN ID is the same

as the input VLAN ID. For example, the configuration guide discloses: “Data frames are



                                               20
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 21 of 173




switched within a bridge domain based on the destination MAC address. Multicast, broadcast,

and unknown destination unicast frames are flooded within the bridge domain. In addition, the

source MAC address learning is performed on all incoming frames on a bridge domain. A

learned address is aged out. Incoming frames are mapped to a bridge domain, based on either the

ingress port or a combination of both an ingress port and a MAC header field. By default, split

horizon is enabled for pseudowires under the same VFI.” Id. at 186.

        64.     The first VLAN in Cisco EFP Products includes one or more VLANs on a same

network port, or one or more VLANs on different ports of a same network, or one or more

VLANs on different ports of more than one network. For example, the configuration guide

discloses: “An EFP subinterface is configured to specify which traffic on ingress is vectored to

that EFP. This is done by specifying a VLAN, range of VLANs, or QinQ tagging to match

against on ingress.” Id. at 12.

        65.    Cisco EFP Products have an input port configured to receive a frame from at least

two virtual local area networks (VLAN). For example, the configuration guide discloses: “An

EFP subinterface is configured to specify which traffic on ingress is vectored to that EFP. This is

done by specifying a VLAN, range of VLANs, or QinQ tagging to match against on ingress.”

Id. at 12.

        66.    Cisco EFP Products have a forwarding unit that executes in a storing module

storing a plurality of relationships between combinations of the input port and input VLAN

identifier and Virtual Switching Instances (VSI); and storing MAC address forwarding tables

corresponding to the VSI, wherein at least one combination of input port and input VLAN ID

corresponds to one VSI. For example, the Cisco ASR9000 series routers allows operators to

“perform a variety of operations on the traffic flows when a router is configured with EFPs on




                                                21
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 22 of 173




various interfaces. Also, you can bridge or tunnel the traffic by many ways from one or more of

the router’s ingress EFPs to one or more egress EFPs. This traffic is a mixture of VLAN IDs,

single or double (QinQ) encapsulation, and ethertypes.” Id. at 11. For example, “EFP supports

[] L2 header encapsulation modifications on both ingress and egress.” Id. at 15. As a further

example, the configuration guide discloses several forwarding cases, including “L2 Switched

Service (Bridging)—The EFP is mapped to a bridge domain, where frames are switched based

on their destination MAC address.” Id. at 15-16.

        67.     The forwarding unit in Cisco EFP Products executes in an input analyzing module

obtaining the input VLAN ID and the destination MAC address of the received frame and

outputting the input VLAN ID and the destination MAC address. For example, the configuration

guide discloses:

        An EFP can be regarded as an instantiation of a particular service. An EFP is
        defined by a set of filters. These filters are applied to all the ingress traffic to classify
        the frames that belong to a particular EFP. An EFP filter is a set of entries, where
        each entry looks similar to the start of a packet (ignoring source/destination MAC
        address). Each entry usually contains 0, 1 or 2 VLAN tags. A packet that starts with
        the same tags as an entry in the filter is said to match the filter; if the start of the
        packet does not correspond to any entry in the filter then the packet does not match
        the filter.

Id. at 11.

        68.     The forwarding unit in Cisco EFP Products executes in a first forwarding module

determining the VSI corresponding to the combination of the input port and the input VLAN ID

according to the relationship between the combination of the input port and the input VLAN ID

and the VSI, and obtaining an output port and an output VLAN ID by searching the MAC

address forwarding table corresponding to the VSI. For example, “[a]n Ethernet Flow Point

(EFP) is a Layer 2 logical subinterface used to classify traffic under a physical or a bundle

interface. A physical interface can be a Gigabit Ethernet 0/0/0/1 or a 10 Gigabit Ethernet 0/0/0/0



                                                     22
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 23 of 173




interface and has ports on the line card. A bundle interface is a virtual interface, created by

grouping physical interfaces together.” Id. at 11. The configuration guide discloses that “[a]n

EFP subinterface is configured to specify which traffic on ingress is vectored to that EFP. This is

done by specifying a VLAN, range of VLANs, or QinQ tagging to match against on ingress. All

traffic on ingress is compared to each EFP’s matching criterion, and processed by that EFP if a

match occurs.” Id. at 12. Figure 3 depicts the EFP model:




       69.     The configuration guide further discloses that “[d]ata frames are switched within

a bridge domain based on the destination MAC address” and that “[i]ncoming frames are

mapped to a bridge domain, based on either the ingress port or a combination of both an ingress

port and a MAC header field.” Id. at 186.

       70.     The configuration guide further discloses that operators can “perform a variety of

operations on the traffic flows when a router is configured with EFPs on various interfaces. Also,

you can bridge or tunnel the traffic by many ways from one or more of the router’s ingress EFPs

to one or more egress EFPs. This traffic is a mixture of VLAN IDs, single or double (QinQ)

encapsulation, and ethertypes.” Id. at 11. For example, “EFP supports [] L2 header

encapsulation modifications on both ingress and egress.” Id. at 15. As a further example, the


                                                 23
           Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 24 of 173




configuration guide discloses several forwarding cases, including “L2 Switched Service

(Bridging)—The EFP is mapped to a bridge domain, where frames are switched based on their

destination MAC address.” Id. at 15-16.

        71.     The forwarding unit in Cisco EFP Products executes in a second forwarding

module forwarding the frame according to the output port and the output VLAN ID obtained by

the first forwarding module. For example, the Cisco ASR9000 series router allows operators to

perform numerous L2 header encapsulation modifications on both ingress and egress, which

include:

                • Push 1 or 2 VLAN tags
                • Pop 1 or 2 VLAN tags
                ...
                • Rewrite 1 or 2 VLAN tags:
                ...
                • The VLAN ID. 0 can be specified for an outer VLAN tag to generate a
                priority-tagged frame.

Id. at 15.

        72.     Cisco EFP Products have an output port configured to communicate the received

frame to more than one VLAN according to the output VLAN ID. For example, the

configuration guide discloses that operators can “perform a variety of operations on the traffic

flows when a router is configured with EFPs on various interfaces. Also, you can bridge or

tunnel the traffic by many ways from one or more of the router’s ingress EFPs to one or more

egress EFPs. This traffic is a mixture of VLAN IDs, single or double (QinQ) encapsulation, and

ethertypes.” Id. at 11.

        73.     The first forwarding module in Cisco EFP Products are further configured to

instruct the second forwarding module to forward the frame after adding the output VLAN ID in

the frame or substituting the output VLAN ID for the input VLAN ID in the frame. For




                                                24
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 25 of 173




example, the Cisco ASR9000 series router allows operators to perform numerous L2 header

encapsulation modifications on both ingress and egress, which include:

               • Rewrite 1 or 2 VLAN tags:
               • Rewrite outer tag
               • Rewrite outer 2 tags
               • Rewrite outer tag and push an additional tag
               • Remove outer tag and rewrite inner tag
               ...
               • The VLAN ID. 0 can be specified for an outer VLAN tag to generate a priority-
               tagged frame.

Id. at 15.

        74.    The second forwarding module in Cisco EFP Products are further configured to

detect, before forwarding the received frame to the output port, whether the output port and the

output VLAN ID are the same as the input port and the input VLAN ID respectively; and

abandoning the frame in which the output port and the output VLAN ID are the same as the input

port and the input VLAN ID respectively. For example, the configuration guide discloses: “Data

frames are switched within a bridge domain based on the destination MAC address. Multicast,

broadcast, and unknown destination unicast frames are flooded within the bridge domain. In

addition, the source MAC address learning is performed on all incoming frames on a bridge

domain. A learned address is aged out. Incoming frames are mapped to a bridge domain, based

on either the ingress port or a combination of both an ingress port and a MAC header field. By

default, split horizon is enabled for pseudowires under the same VFI.” Id. at 186.

        75.    The input VLAN ID in Cisco EFP Products comprises an input inner-layer VLAN

ID and an input outer-layer VLAN ID; and the output VLAN ID in Cisco EFP Products

comprises an output inner-layer VLAN ID and an output outer-layer VLAN ID. For example,

the Cisco ASR9000 series routers allows operators to “perform a variety of operations on the

traffic flows when a router is configured with EFPs on various interfaces. Also, you can bridge



                                                25
           Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 26 of 173




or tunnel the traffic by many ways from one or more of the router’s ingress EFPs to one or more

egress EFPs. This traffic is a mixture of VLAN IDs, single or double (QinQ) encapsulation, and

ethertypes.” Id. at 11. For example, the Cisco ASR9000 series router allows operators to

perform numerous L2 header encapsulation modifications on both ingress and egress, which

include:

                • Rewrite 1 or 2 VLAN tags:
                • Rewrite outer tag
                • Rewrite outer 2 tags
                • Rewrite outer tag and push an additional tag
                • Remove outer tag and rewrite inner tag
                ...
                • The VLAN ID. 0 can be specified for an outer VLAN tag to generate a priority-
                tagged frame.

Id. at 15.

        76.     As such, on information and belief, Verizon has directly infringed at least claims

1, 4, 7, 16-18, 21, and 23 of the ’709 Patent by (i) leasing, and/or using the Cisco EFP Products;

(ii) making, offering for sale, and/or selling its services; and (iii) making, using, and/or importing

into the United States the Cisco EFP Products, to infringe at least claims 1, 4, 7, 16-18, 21, and

23 of the ’709 Patent in violation of 35 U.S.C. § 271(a). ). See, e.g.,

https://www22.verizon.com/wholesale/access/order/guide/detail/Ethernet-Virtual-Circuit-Order-

Guide.html.

        77.     On information and belief, Verizon has infringed at least claims 1, 4, 7, 16-18, 21,

and 23 of the ’709 Patent by inducing others, including customers and network users that use the

Cisco EFP Products and entities that install the Cisco EFP Products, to infringe at least claims 1,

4, 7, 16-18, 21, and 23 of the ’709 Patent in violation of 35 U.S.C. § 271(b).

        78.     On information and belief, Verizon takes active steps to induce infringement of at

least claims 1, 4, 7, 16-18, 21, and 23 of the ’709 Patent by others, including its customers, and



                                                 26
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 27 of 173




Verizon takes such active steps knowing that those steps will induce, encourage and facilitate

direct infringement by others. On information and belief, Verizon knows or should know that

such activities induce others to directly infringe at least claims 1, 4, 7, 16-18, 21, and 23 of

the ’709 Patent.

       79.     On information and belief, Verizon contributes to the infringement of at least

claims 1, 4, 7, 16-18, 21, and 23 of the ’709 Patent by others, including its customers, network

users, and contractors. Acts by Verizon that contribute to the infringement of others include, but

are not limited to, the use and/or importation of Cisco EFP Products. Such Cisco EFP Products

are especially made or adapted for use to infringe at least claims 1, 4, 7, 16-18, 21, and 23 of

the ’709 Patent and are at least a material part of those claims, for example, as described above

with respect to claim 1. The Cisco EFP Products, including the functionality contributing to

infringement of the ’709 Patent, are not suitable for substantial noninfringing use.

       80.     By way of at least Huawei’s notice to Verizon in February 2019 and on March 29,

2019 (as well as this Complaint), Verizon knows of the ’709 Patent and performs acts that it

knows, or should know, induce, and/or contribute to the direct infringement of at least claims 1,

4, 7, 16-18, 21, and 23 of the ’709 Patent by third parties.

       81.     Verizon undertook and continues its infringing actions despite an objectively high

likelihood that such activities infringed the ’709 Patent, is presumed valid. For example,

Verizon has been aware of an objectively high likelihood that its actions constituted, and

continue to constitute, infringement of the ’709 Patent and that the ’709 Patent is valid since at

least March 29, 2019. Verizon could not reasonably subjectively believe that its actions do not

constitute infringement of the ’709 Patent, nor could it reasonably subjectively believe that

the ’709 Patent is invalid. Despite that knowledge, subjective belief, and the objectively high




                                                  27
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 28 of 173




likelihood that its actions constitute infringement, Verizon has continued its infringing activities.

As such, Verizon willfully infringes the ’709 Patent.

        82.     Huawei has been irreparably harmed by Verizon’s infringement of the ’709 Patent

and will continue to be harmed unless and until Verizon’s infringement is enjoined by this Court.

        83.     By its actions, Verizon has injured Huawei and is liable to Huawei for

infringement of the ’709 Patent pursuant to 35 U.S.C. § 271.

                    COUNT II: INFRINGEMENT OF PATENT NO. 8,154,986

        84.     Huawei realleges and incorporates by reference Paragraphs 1-83 above, as if fully

set forth herein.

        85.     The U.S. Patent Office duly and properly issued the ’986 Patent, entitled “Method

for Fast Converging End-To-End Services and Provider Edge Equipment Thereof,” on April 10,

2012. Huawei Technologies is the assignee of all right, title, and interest in and to the ’986

Patent and possesses the exclusive right of recovery for past, present, and future infringement.

Each and every claim of the ’986 Patent is valid and enforceable. A true and correct copy of

the ’986 Patent is attached hereto as Exhibit B.

        86.     The ’986 Patent provides novel and useful techniques and equipment for fast

converging of a network after a node failure, so as to increase convergence speed as well as

improve the service’s reliability, overcoming the problems of the prior art and thereby improving

the functioning of computer and network equipment. See the ’986 Patent at Abstract.

        87.     The ’986 Patent is generally directed to a novel and inventive technical solution to

a problem relating to computer and networking technology, and in particular to the problem of

“service convergence time” that is slower than requirements. Id. at 2:44-46. The background

section of the ’986 Patent provides Fig. 1 to describe a prior art convergence technique.




                                                   28
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 29 of 173




       88.     With reference to Fig. 1, the ’986 Patent explains that in the prior art, “the PE-E

can detect the malfunction of the PE-A only through information, such as a Border Gateway

Protocol (BGP) neighbor breaks down or an outer layer LSP tunnel is unavailable, etc., and the

PE-E re-selects the VPN V4 route advertised by the PE-B.” Id. at 2:22-26. “Before the PE-E

fills the corresponding forwarding item with the route advertised by the PE-B, the terminal node

of the outer layer LSP tunnel directed by the forwarding item of the forwarding engine of the PE-

E is the PE-A all the time, and the PE-A has failed to function, therefore during the period from

the malfunction appearing in the PE-A to the PE-E filling in the forwarding item with the route

advertised by the PE-B, the CE-B is unable to access the CE-A, and the end-to-end service is

interrupted.” Id. at 2:31-39.

       89.     The ’986 Patent further explains that in the prior art, when “the terminal node PE-

A fails to function, the time for recovering the normal service transmission mainly depends on

the service convergence time which is closely related to the number of the MPLS VPN inner

routes and the number of hops of a bearer network.” Id. at 2:40-44. The ’986 Patent also

explains that in the prior art, typically “the service convergence is about 5 s, which is far from

the requirement that the end-to-end service convergence time should be less than 1 s, moreover,

the end-to-end service convergence time will increase significantly with the increase in the

number of MPLS VPN private network routes.” Id. at 2:44-49.




                                                 29
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 30 of 173




       90.     The inventions of the ’986 Patent provide technical solutions to the problems in

the prior art described above. The ’986 Patent describes, for example, “setting routing

information and tunnel state information for each of at least two tunnels, by a double-ascription

Provider Edge (PE) of a remote Customer Edge (CE) in the double-ascription PE itself which is

connected with a nearby CE, before the nearby CE visits the remote CE, wherein, the double-

ascription PE connected with the nearby CE serves as an initial node of each of the at least two

tunnels, and at least two other PEs connected with the remote CE serve as terminal nodes of the

at least two tunnels, respectively, and wherein the routing information and the tunnel state

information of the at least two tunnels are stored in one route forwarding table in an IP network.”

Id. at 7:24-36. The ’986 Patent further describes, for example, “detecting, by the double-

ascription PE of the remote CE, tunnel states to obtain state information of the at least two

tunnels.” Id. at 7:37-39. The ’986 Patent further describes, for example, “selecting, by the

double-ascription PE of the remote CE, one or more available tunnels according to the state of

each tunnel from the at least two tunnels.” Id. at 7:40-42. The ’986 Patent further describes, for

example, “forwarding, by the double-ascription PE of the remote CE, service according to the

routing information of the available tunnels selected.” Id. at 7:43-45.

       91.     The inventions of the ’986 Patent improve computer and network functionality by

improving and solving problems in a computer or network device’s capability to quickly

converge the network after a node failure. The inventions of the ’986 Patent provide a computer-

based solution to a computer-specific problem. The inventions of the ’986 Patent are

improvements over the prior art and other techniques for convergence, and the ’986 Patent

enables a combination of features not present in the prior art and other techniques.




                                                30
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 31 of 173




       92.     For example, the inventions of the ’986 Patent provide for a “technical scheme

that, by setting routing information for multiple tunnels, which are mutual backup tunnels or load

sharing tunnels, in a double-ascription PE of a remote CE, and by detecting state information of

the tunnels, it is possible for the double-ascription PE of the remote CE to forward the service

directly according to the state information of the backup tunnel when the tunnel is unavailable,

such as when a terminal node of the tunnel functions abnormally, thereby avoiding the procedure

of re-selecting the optimal route.” Id. at 3:24-33. “In addition, the end-to-end malfunction

detection time can be less than 500 ms, even reaching 50 ms, by detecting an unavailable state of

the tunnel using techniques such as BFD, tunnel fast convergence, etc.” Id. at 3:33-36. The

inventions of the ’986 Patent further provide that, for example, “[t]he end-to-end malfunction

detection time is independent of the private network route numbers that the MPLS VPN network

bears.” Id. at 3:37-39. The ’986 Patent further discloses “it is possible to quickly and

conveniently obtain the routing information of the mutual backup tunnels or the mutual load

sharing tunnels by setting routing information.” Id. at 3:39-42. “Therefore, the technical

solution of the present invention can improve the service’s reliability by increasing the end-to-

end service convergence speed.” Id. at 3:42-45.

       93.     The claims of the ’986 Patent contain an inventive concept to improve the

functioning of computers and other networked devices. Claims 1-6, 8, and 17 claim ordered

combinations of activities of a computer or networked device that were new, novel, innovative,

and unconventional at the time the ’986 Patent application was filed. These ordered

combinations are set forth in claims 1-6, 8, and 17 of the ’986 Patent. The ordered combinations

of elements in claim 1-6, 8, and 17 were not well understood, routine or conventional at the time

the ’986 Patent application was filed. The ordered combinations of the inventions of claims 1-6,




                                                31
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 32 of 173




8, and 17 are practical, particular, non-conventional, and non-generic solutions for fast

converging an end-to-end service.

       94.     In violation of 35 U.S.C. § 271, Verizon has directly infringed, contributed to the

infringement of, and/or induced others to infringe at least claims 1-6, 8, and 17 of the ’986 Patent

by, among other things, making, using, offering for sale, selling, and/or importing into the United

States unlicensed systems, products, and/or services that infringe such claims of the ’986 Patent.

Such unlicensed systems, products, and/or services include, by way of example and without

limitation, Verizon’s communications and/or content delivery networks, and associated network

infrastructure that incorporate, for example, Cisco routers and switches (collectively, the “Cisco

Convergence Products”) including the ASR 9000 series, ASR 900 series, ASR 920 series, ASR

1000 series, ISR 4000 series, NCS 4200 series, Nexus 7000 products, and/or Juniper routers and

switches (collectively, the “Juniper Convergence Products”) including the Juniper MX Series

and T series routers. See, e.g., https://newsroom.cisco.com/press-release-

content?type=webcontent&articleId=4860261 (“The Verizon Wireless network incorporates

leading Cisco technologies, including the Cisco CRS-1 Carrier Routing System, the industry's

only carrier routing system offering continuous system operation, service flexibility, and system

longevity. Verizon Wireless is also deploying the new Cisco ASR 9000 Series Routers and Cisco

ASR 1000 Series Routers to expand both capacity and capabilities of backhaul for its 3G/4G

Mobile Internet services”); https://www.cisco.com/c/m/en_us/network-intelligence/service-

provider/digital-transformation/verizon-tdm-to-ip-network-modernization.html (“Verizon

selected Cisco's NCS 4200 system as one of its CEM packet switches. The packet network is

Verizon's MPLS core.”); https://investor.juniper.net/investor-relations/press-releases/press-

release-details/2018/Juniper-Networks-Unveils-5G--and-IoT-Ready-Routing-Platform-to-




                                                32
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 33 of 173




Unlock-Service-Creation-Opportunities/default.aspx (discussing Verizon’s long-time use of

Juniper Convergence Products); https://www.verizon.com/about/work/jobs/4126701-core-

network-engineer (job posting requesting candidates with experience with Cisco Convergence

Products and Juniper Convergence Products);

https://community.cisco.com/kxiwq67737/attachments/kxiwq67737/4441-docs-service-

providers/2895/1/brkspg-2402.pdf at 9, 17 (discussing Verizon’s use of Cisco Convergence

Products).

       95.     The Cisco Convergence Products are operable for fast converging an end-to-end

service. See, e.g., https://www.cisco.com/c/en/us/td/docs/ios-

xml/ios/iproute bgp/configuration/xe-16/irg-xe-16-book/bgp-pic-edge-for-ip-and-mpls-vpn.pdf

at 1 (“The BGP PIC Edge for IP and MPLS-VPN feature improves BGP convergence after a

network failure. This convergence is applicable to both core and edge failures and can be used in

both IP and MPLS networks. The BGP PIC Edge for IP and MPLS-VPN feature creates and

stores a backup/alternate path in the routing information base (RIB), forwarding information

base (FIB), and Cisco Express Forwarding so that when a failure is detected, the backup/alternate

path can immediately take over, thus enabling fast failover.”).

       96.     With respect to at least claims 1-6 and 8, the Cisco Convergence Products are

operable to set routing information and tunnel state information for each of at least two tunnels,

by a double-ascription Provider Edge (PE) of a remote Customer Edge (CE) in the double-

ascription PE itself which is connected with a nearby CE, before the nearby CE visits the remote

CE, wherein, the double-ascription PE connected with the nearby CE serves as an initial node of

each of the at least two tunnels, and at least two other PEs connected with the remote CE serve as

terminal nodes of the at least two tunnels, respectively, and wherein the routing information and




                                                33
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 34 of 173




the tunnel state information of the at least two tunnels are stored in one route forwarding table in

an IP network. See, e.g., id. at 4 (“BGP Fast Reroute (FRR) provides a best path and a backup or

alternate path in BGP, RIB, and Cisco Express Forwarding. BGP FRR provides a fast reroute

mechanism into the RIB and Cisco Express Forwarding (CEF) on the backup BGP next hop to

reach a destination when the current best path is not available. BGP FRR precomputes a second

best path in BGP and gives it to the RIB and Cisco Express Forwarding as a backup or alternate

path, and CEF programs it into line cards. The BGP PIC feature provides the ability for CEF to

quickly switch the traffic to the other egress ports if the current next hop or the link to this next

hop goes down.”); id. at 9:




       97.     The Cisco Convergence Products are operable to detect by the double-ascription

PE of the remote CE, tunnel states to obtain state information of the at least two tunnels. See,



                                                  34
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 35 of 173




e.g., id. at 1 (“The BGP PIC Edge for IP and MPLS-VPN feature creates and stores a

backup/alternate path in the routing information base (RIB), forwarding information base (FIB),

and Cisco Express Forwarding so that when a failure is detected, the backup/alternate path can

immediately take over, thus enabling fast failover.”); id. at 2 (“An additional path for failover

allows faster restoration of connectivity if a primary path is invalid or withdrawn.”); id. at 3

(“When the primary path goes down, Cisco Express Forwarding searches for the

backup/alternate path in a prefix independent manner. Cisco Express Forwarding also listens to

BFD events to rapidly detect local failures.”); id. at 4 (“If a PE node or link fails, then the failure

is detected through IGP convergence.”).

       98.     The Cisco Convergence Products are operable to select, by the double-ascription

PE of the remote CE, one or more available tunnels according to the state of each tunnel from the

at least two tunnels. See, e.g., id. at 3 (“When the primary path goes down, Cisco Express

Forwarding searches for the backup/alternate path in a prefix independent manner. Cisco Express

Forwarding also listens to BFD events to rapidly detect local failures.”); id. at 9 (“Thus, with

BGP PIC enabled on PE3, Cisco Express Forwarding detects the node failure on PE3 and points

the forwarding object to the backup/alternate node PE4.”).

       99.     The Cisco Convergence Products are operable to forward, by the double-

ascription PE of the remote CE, service according to the routing information of the available

tunnels selected. See, e.g., id. at 4 (“Therefore, BGP FRR sets up the best path and

backup/alternate path. The BGP PIC feature provides the ability for Cisco Express Forwarding to

quickly switch the traffic to the other egress ports if the current next hop or the link to this next

hop goes down.”); id. at 9 (“Thus, with BGP PIC enabled on PE3, Cisco Express Forwarding




                                                  35
          Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 36 of 173




detects the node failure on PE3 and points the forwarding object to the backup/alternate node

PE4.”).

          100.   With respect to at least claim 2, the Cisco Convergence Products are operable to

perform the method of claim 1 wherein each of the tunnels comprises an inner layer tunnel and

an outer layer tunnel; the inner layer tunnel is a Virtual Private Network (VPN) tunnel, and the

outer layer tunnel is a Label Switching Path (LSP) tunnel or a Genetic Routing Encapsulation

(GRE) tunnel or an Internet Protocol Security (IPSec) tunnel. See, e.g., id. at 1 (“The BGP PIC

Edge for IP and MPLS-VPN feature creates and stores a backup/alternate path in the routing

information base (RIB), forwarding information base (FIB), and Cisco Express Forwarding so

that when a failure is detected, the backup/alternate path can immediately take over, thus

enabling fast failover”).

          101.   With respect to claim 3, the Cisco Convergence Products are operable to perform

the method of claim 2 wherein, the step of the setting routing information of at least two tunnels

by a double-ascription PE of a remote CE comprises the double-ascription PE of the remote CE

setting optimal routing information and suboptimal routing information of the tunnels in the

route forwarding table according to pre-configured matching strategies. See, e.g., id. at 16.

          102.   With respect to claim 4, the Cisco Convergence Products are operable to perform

the method of claim 3 wherein, the procedure of setting a suboptimal routing information in the

route forwarding table is setting the suboptimal routing information in the forwarding item of the

optimal routing information in the route forwarding table. See, e.g., id. at 16.

          103.   With respect to claim 5, the Cisco Convergence Products are operable to perform

the method of claim 2 wherein, the step of detecting tunnel states to obtain the state information

of the at least two tunnels comprises when a control layer of the double-ascription PE of the




                                                 36
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 37 of 173




remote CE determines that some changes take place in the state of the outer layer tunnel of one

of the at least two tunnels according to Bidirectional Forwarding Detection (BFD) or tunnel fast

convergence techniques, advertising the available/unavailable state information of the tunnel to

the forwarding engine. See, e.g., id. at 5 (“A failure in the iBGP (remote) peer is detected by

IGP; it may take a few seconds to detect the failure. Convergence can occur in subseconds or

seconds, depending on whether PIC is enabled on the line cards.”); id. at 3 (“When the primary

path goes down, Cisco Express Forwarding searches for the backup/alternate path in a prefix

independent manner. Cisco Express Forwarding also listens to BFD events to rapidly detect local

failures.”).

        104.     With respect to claim 6, the Cisco Convergence Products are operable to perform

the method of claim 5 wherein there is a tunnel state field in the forwarding table of the

forwarding engine and the step of advertising the available/unavailable state information of the

outer layer tunnel of one of the at least two tunnels to the forwarding engine comprises the

double-ascription PE of the remote CE advertising the available/unavailable state information of

the outer layer tunnel of one of the at least two tunnels to the route forwarding table of the

forwarding engine, and updating the content of state field of the corresponding item. See, e.g.,

id. at 16; id. at 4.

        105.     With respect to claim 8, the Cisco Convergence Products are operable to perform

the method of claim 6 further comprising before forwarding the service to the remote CE through

the backup tunnel, obtaining the state information of the backup tunnel and confirming that the

state information of the backup tunnel is available. See, e.g., id. at 16.

        106.     With respect to claim 17, the Cisco Convergence Products comprise a Provider

Edge (PE) equipment. See, e.g., https://www.cisco.com/c/en/us/td/docs/ios-




                                                  37
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 38 of 173




xml/ios/iproute_bgp/configuration/xe-16/irg-xe-16-book/bgp-pic-edge-for-ip-and-mpls-vpn.pdf

at 9:




        107.   The Cisco Convergence Products comprise a storage module. See, e.g., id. at 3

(“With BGP PIC, Cisco Express Forwarding stores an alternate path per prefix.”).

        108.   The Cisco Convergence Products comprise a tunnel state detecting module. See,

e.g., id. at 3 (“Cisco Express Forwarding also listens to BFD events to rapidly detect local

failures.”).

        109.   The Cisco Convergence Products comprise a forwarding module. See, e.g., id. at

1 (“The BGP PIC Edge for IP and MPLS-VPN feature creates and stores a backup/alternate path

in the routing information base (RIB), forwarding information base (FIB), and Cisco Express

Forwarding so that when a failure is detected, the backup/alternate path can immediately take

over, thus enabling fast failover.”).

        110.   In the Cisco Convergence Products, the PE is a double-ascription PE of a remote

Customer Edge (CE) and is connected with a nearby CE. See, e.g., id. at 9:




                                                38
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 39 of 173




        111.    In the Cisco Convergence Products, the storage module is configured to store

routing information and tunnel state information for each of at least two tunnels, before the

nearby CE visits the remote CE. See, e.g., id. at 1 (“The BGP PIC Edge for IP and MPLS-VPN

feature creates and stores a backup/alternate path in the routing information base (RIB),

forwarding information base (FIB), and Cisco Express Forwarding so that when a failure is

detected, the backup/alternate path can immediately take over, thus enabling fast failover.”); id.

at 2 (“An additional path for failover allows faster restoration of connectivity if a primary path is

invalid or withdrawn.”); id. at 3 (“When the primary path goes down, Cisco Express Forwarding

searches for the backup/alternate path in a prefix independent manner. Cisco Express Forwarding

also listens to BFD events to rapidly detect local failures.”); id. at 4 (“If a PE node or link fails,

then the failure is detected through IGP convergence.”).




                                                  39
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 40 of 173




        112.     In the Cisco Convergence Products, the double-ascription PE connected with the

nearby CE serves as an initial node of each of the at least two tunnel, and at least two other PEs

connected with the remote CE serve as terminal nodes of the at least two tunnels, respectively.

See, e.g., id. at 9:




        113.     In the Cisco Convergence Products, the routing information and tunnel state

information for each of the at least two tunnels are stored in one route forwarding table in an IP

network. See, e.g., id. at 4 (“BGP Fast Reroute (FRR) provides a best path and a backup or

alternate path in BGP, RIB, and Cisco Express Forwarding. BGP FRR provides a fast reroute

mechanism into the RIB and Cisco Express Forwarding (CEF) on the backup BGP next hop to

reach a destination when the current best path is not available. BGP FRR precomputes a second

best path in BGP and gives it to the RIB and Cisco Express Forwarding as a backup or alternate


                                                 40
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 41 of 173




path, and CEF programs it into line cards. The BGP PIC feature provides the ability for CEF to

quickly switch the traffic to the other egress ports if the current next hop or the link to this next

hop goes down.”).

        114.    In the Cisco Convergence Products, the tunnel state detecting module is

configured to detect tunnel states of the at least two tunnels and update the tunnel state

information stored in the storing module when the tunnel state is changed. See, e.g., id. at 1

(“The BGP PIC Edge for IP and MPLS-VPN feature creates and stores a backup/alternate path in

the routing information base (RIB), forwarding information base (FIB), and Cisco Express

Forwarding so that when a failure is detected, the backup/alternate path can immediately take

over, thus enabling fast failover.”); id. at 2 (“An additional path for failover allows faster

restoration of connectivity if a primary path is invalid or withdrawn.”); id. at 3 (“When the

primary path goes down, Cisco Express Forwarding searches for the backup/alternate path in a

prefix independent manner. Cisco Express Forwarding also listens to BFD events to rapidly

detect local failures.”); id. at 4 (“If a PE node or link fails, then the failure is detected through

IGP convergence.”).

        115.    In the Cisco Convergence Products, the forwarding module is configured to select

one or more available tunnels according to the state of each tunnel from the at least two tunnels

stored in the storing module and forward service according to the routing information of the

available tunnels selected. See, e.g., id. at 3 (“When the primary path goes down, Cisco Express

Forwarding searches for the backup/alternate path in a prefix independent manner. Cisco Express

Forwarding also listens to BFD events to rapidly detect local failures.”); id. at 9 (“Thus, with

BGP PIC enabled on PE3, Cisco Express Forwarding detects the node failure on PE3 and points

the forwarding object to the backup/alternate node PE4.”).




                                                   41
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 42 of 173




       116.    The Juniper Convergence Products are operable for fast converging an end-to-end

service. See, e.g., https://www.juniper.net/documentation/en_US/junos/information-

products/pathway-pages/config-guide-vpns/config-guide-vpns-layer-3.pdf at 927 (“BGP Prefix-

Independent Convergence (PIC) Edge allows you to install a Layer 3 VPN route in the

forwarding table as an alternate path, enabling fast failover when a PE router fails or you lose

connectivity to a PE router. This already installed path is used until global convergence through

the IGP is resolved. Using the alternative VPN route for forwarding until global convergence is

complete reduces traffic loss.”).

       117.    With respect to at least claims 1-6 and 8, the Juniper Convergence Products are

operable to set routing information and tunnel state information for each of at least two tunnels,

by a double-ascription Provider Edge (PE) of a remote Customer Edge (CE) in the double-

ascription PE itself which is connected with a nearby CE, before the nearby CE visits the remote

CE, wherein, the double-ascription PE connected with the nearby CE serves as an initial node of

each of the at least two tunnels, and at least two other PEs connected with the remote CE serve as

terminal nodes of the at least two tunnels, respectively, and wherein the routing information and

the tunnel state information of the at least two tunnels are stored in one route forwarding table in

an IP network. See, e.g., id.; id. at 930-931 (“This example shows two customer edge (CE)

routers, Device CE1 and Device CE2. Devices PE1, PE2, and PE3 are PE routers. Device P1 is a

provider core router. Only Device PE1 has BGP PIC edge configured. The example uses the P1-

PE2 link (P-PE) link to simulate the loss of a section of the network. For testing, the address

172.16.1.5/24 is added as a loopback interface address on Device CE2. The address is announced

to Device PE2 and Device PE3 and is relayed by way of internal BGP (IBGP) IBGP to Device




                                                 42
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 43 of 173




PE1. On Device PE1, there are two paths to the 172.16.1.5/24 network. These are the primary

and a backup path.”); id. at 931:




                                              43
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 44 of 173




See also id. at 940:




                                      44
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 45 of 173




See also id. at 941:




See also id. at 942-943:




                                      45
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 46 of 173




See also https://www.juniper.net/documentation/en US/junos/information-products/pathway-

pages/config-guide-routing/config-guide-routing-bgp.pdf at 696-697:




       118.    The Juniper Convergence Products are operable to detect by the double-ascription

PE of the remote CE, tunnel states to obtain state information of the at least two tunnels. See,

e.g., id. at 673 (“When reachability to an egress router in a network fails, the IGP detects this

outage, and the link state propagates this information throughout the network and advertises the


                                                 46
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 47 of 173




BGP next hop for that prefix as unreachable.”); id. (“On a BGP PIC enabled router, Junos OS

installs the backup path for the indirect next hop on the Routine Engine and also provides this

route to the Packet Forwarding Engine and IGP. When an IGP loses reachability to a prefix with

one or more routes, it signals to the Routing Engine with a single message prior to updating the

routing tables. The Routing Engine signals to the Packet Forwarding Engine that an indirect next

hop has failed, and traffic must be rerouted using the backup path. Routing to the impacted

destination prefix continues using the backup path even before BGP starts recalculating the new

next hops for the BGP prefixes. The router uses this backup path to reduce traffic loss until the

global convergence through the BGP is resolved.”).

        119.    The Juniper Convergence Products are operable to select, by the double-ascription

PE of the remote CE, one or more available tunnels according to the state of each tunnel from the

at least two tunnels. See, e.g., id. at 673 (“However, with the BGP PIC feature enabled, even

before BGP recalculates the best path for those affected prefixes, the Routing Engine signals the

data plane to switch to the standby next best path. Hence traffic loss is minimum. The new routes

are calculated even while the traffic is being forwarded, and these new routes are pushed down to

the data plane. Therefore, the number of BGP prefixes affected does not impact the time taken

from the time traffic outage occurs to the point of time at which BGP signals the loss of

reachability.”); id. at 696:




        120.    The Juniper Convergence Products are operable to forward, by the double-

ascription PE of the remote CE, service according to the routing information of the available

tunnels selected. See, e.g., id. at 673 (“However, with the BGP PIC feature enabled, even before


                                                47
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 48 of 173




BGP recalculates the best path for those affected prefixes, the Routing Engine signals the data

plane to switch to the standby next best path. Hence traffic loss is minimum. The new routes are

calculated even while the traffic is being forwarded, and these new routes are pushed down to the

data plane. Therefore, the number of BGP prefixes affected does not impact the time taken from

the time traffic outage occurs to the point of time at which BGP signals the loss of

reachability.”).

        121.       With respect to at least claim 2, the Juniper Convergence Products are operable to

perform the method of claim 1 wherein each of the tunnels comprises an inner layer tunnel and

an outer layer tunnel; the inner layer tunnel is a Virtual Private Network (VPN) tunnel, and the

outer layer tunnel is a Label Switching Path (LSP) tunnel or a Genetic Routing Encapsulation

(GRE) tunnel or an Internet Protocol Security (IPSec) tunnel. See, e.g.,

https://www.juniper.net/documentation/en_US/junos/information-products/pathway-

pages/config-guide-vpns/config-guide-vpns-layer-3.pdf at 940:




                                                   48
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 49 of 173




See also id. at 941:




                                      49
Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 50 of 173




id. at 942-943:




                              50
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 51 of 173




       122.    With respect to claim 3, the Juniper Convergence Products are operable to

perform the method of claim 2 wherein, the step of the setting routing information of at least two

tunnels by a double-ascription PE of a remote CE comprises the double-ascription PE of the

remote CE setting optimal routing information and suboptimal routing information of the tunnels

in the route forwarding table according to pre-configured matching strategies. See, e.g., id. at

940:




                                                51
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 52 of 173




See also id. at 941:




                                      52
Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 53 of 173




id. at 942-943:




                              53
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 54 of 173




       123.      With respect to claim 4, the Juniper Convergence Products are operable to

perform the method of claim 3 wherein, the procedure of setting a suboptimal routing

information in the route forwarding table is setting the suboptimal routing information in the

forwarding item of the optimal routing information in the route forwarding table. See, e.g., id. at

927.

       124.      With respect to claim 5, the Juniper Convergence Products are operable to

perform the method of claim 2 wherein, the step of detecting tunnel states to obtain the state

information of the at least two tunnels comprises when a control layer of the double-ascription

PE of the remote CE determines that some changes take place in the state of the outer layer

tunnel of one of the at least two tunnels according to Bidirectional Forwarding Detection (BFD)

or tunnel fast convergence techniques, advertising the available/unavailable state information of

the tunnel to the forwarding engine. See, e.g.,

https://www.juniper.net/documentation/en US/junos/information-products/pathway-

pages/config-guide-routing/config-guide-routing-bgp.pdf at 673 (“When an IGP loses

reachability to a prefix with one or more routes, it signals to the Routing Engine with a single

message prior to updating the routing tables. The Routing Engine signals to the Packet

Forwarding Engine that an indirect next hop has failed, and traffic must be rerouted using the

backup path”).




                                                  54
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 55 of 173




        125.   With respect to claim 6, the Juniper Convergence Products are operable to

perform the method of claim 5 wherein there is a tunnel state field in the forwarding table of the

forwarding engine and the step of advertising the available/unavailable state information of the

outer layer tunnel of one of the at least two tunnels to the forwarding engine comprises the

double-ascription PE of the remote CE advertising the available/unavailable state information of

the outer layer tunnel of one of the at least two tunnels to the route forwarding table of the

forwarding engine, and updating the content of state field of the corresponding item. See, e.g.,

https://www.juniper.net/documentation/en US/junos/information-products/pathway-

pages/config-guide-vpns/config-guide-vpns-layer-3.pdf at 927 (“BGP Prefix-Independent

Convergence (PIC) Edge allows you to install a Layer 3 VPN route in the forwarding table as an

alternate path, enabling fast failover when a PE router fails or you lose connectivity to a PE

route.”).

        126.   With respect to claim 8, the Juniper Convergence Products are operable to

perform the method of claim 6 further comprising before forwarding the service to the remote

CE through the backup tunnel, obtaining the state information of the backup tunnel and

confirming that the state information of the backup tunnel is available. See, e.g., id. at 927

(“BGP Prefix-Independent Convergence (PIC) Edge allows you to install a Layer 3 VPN route in

the forwarding table as an alternate path, enabling fast failover when a PE router fails or you lose

connectivity to a PE route.”).

        127.   With respect to claim 17, the Juniper Convergence Products comprise a Provider

Edge (PE) equipment. See, e.g., id. at 930. (“This example shows two customer edge (CE)

routers, Device CE1 and Device CE2. Devices PE1, PE2, and PE3 are PE routers. Device P1 is a

provider core router. Only Device PE1 has BGP PIC edge configured.”).




                                                 55
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 56 of 173




       128.    The Juniper Convergence Products comprise a storage module. See, e.g., id. at

927 (“BGP Prefix-Independent Convergence (PIC) Edge allows you to install a Layer 3 VPN

route in the forwarding table as an alternate path, enabling fast failover when a PE router fails or

you lose connectivity to a PE router. This already installed path is used until global convergence

through the IGP is resolved. Using the alternative VPN route for forwarding until global

convergence is complete reduces traffic loss.”).

       129.    The Juniper Convergence Products comprise a tunnel state detecting module.

See, e.g., https://www.juniper.net/documentation/en US/junos/information-products/pathway-

pages/config-guide-routing/config-guide-routing-bgp.pdf at 673 (“When reachability to an

egress router in a network fails, the IGP detects this outage, and the link state propagates this

information throughout the network and advertises the BGP next hop for that prefix as

unreachable.”).

       130.    The Juniper Convergence Products comprise a forwarding module. See, e.g., id.

at 673 (“On a BGP PIC enabled router, Junos OS installs the backup path for the indirect next

hop on the Routine Engine and also provides this route to the Packet Forwarding Engine and

IGP. When an IGP loses reachability to a prefix with one or more routes, it signals to the Routing

Engine with a single message prior to updating the routing tables. The Routing Engine signals to

the Packet Forwarding Engine that an indirect next hop has failed, and traffic must be rerouted

using the backup path. Routing to the impacted destination prefix continues using the backup

path even before BGP starts recalculating the new next hops for the BGP prefixes. The router

uses this backup path to reduce traffic loss until the global convergence through the BGP is

resolved.”).




                                                   56
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 57 of 173




        131.    In the Juniper Convergence Products, the PE is a double-ascription PE of a remote

Customer Edge (CE) and is connected with a nearby CE. See, e.g.,

https://www.juniper.net/documentation/en US/junos/information-products/pathway-

pages/config-guide-vpns/config-guide-vpns-layer-3.pdf at 927 (“BGP Prefix-Independent

Convergence (PIC) Edge allows you to install a Layer 3 VPN route in the forwarding table as an

alternate path, enabling fast failover when a PE router fails or you lose connectivity to a PE

router. This already installed path is used until global convergence through the IGP is resolved.

Using the alternative VPN route for forwarding until global convergence is complete reduces

traffic loss.”); id. at 930-931 (“This example shows two customer edge (CE) routers, Device CE1

and Device CE2. Devices PE1, PE2, and PE3 are PE routers. Device P1 is a provider core router.

Only Device PE1 has BGP PIC edge configured. The example uses the P1-PE2 link (P-PE) link

to simulate the loss of a section of the network. For testing, the address 172.16.1.5/24 is added as

a loopback interface address on Device CE2. The address is announced to Device PE2 and

Device PE3 and is relayed by way of internal BGP (IBGP) IBGP to Device PE1. On Device

PE1, there are two paths to the 172.16.1.5/24 network. These are the primary and a backup

path.”); id. at 931:




                                                57
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 58 of 173




        132.       In the Juniper convergence products, the storage module is configured to store

routing information and tunnel state information for each of at least two tunnels, before the

nearby CE visits the remote CE. See, e.g.,

https://www.juniper.net/documentation/en_US/junos/information-products/pathway-

pages/config-guide-vpns/config-guide-vpns-layer-3.pdf at 927 (“BGP Prefix-Independent

Convergence (PIC) Edge allows you to install a Layer 3 VPN route in the forwarding table as an

alternate path, enabling fast failover when a PE router fails or you lose connectivity to a PE

router. This already installed path is used until global convergence through the IGP is resolved.

Using the alternative VPN route for forwarding until global convergence is complete reduces

traffic loss.”).

        133.       In the Juniper Convergence Products, the double-ascription PE connected with the

nearby CE serves as an initial node of each of the at least two tunnel, and at least two other PEs

connected with the remote CE serve as terminal nodes of the at least two tunnels, respectively.

See, e.g., id. at 930-931 (“This example shows two customer edge (CE) routers, Device CE1 and

Device CE2. Devices PE1, PE2, and PE3 are PE routers. Device P1 is a provider core router.

Only Device PE1 has BGP PIC edge configured. The example uses the P1-PE2 link (P-PE) link

to simulate the loss of a section of the network. For testing, the address 172.16.1.5/24 is added as

a loopback interface address on Device CE2. The address is announced to Device PE2 and

Device PE3 and is relayed by way of internal BGP (IBGP) IBGP to Device PE1. On Device

PE1, there are two paths to the 172.16.1.5/24 network. These are the primary and a backup

path.”); id. at 931:




                                                   58
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 59 of 173




       134.    In the Juniper Convergence Products, the routing information and tunnel state

information for each of the at least two tunnels are stored in one route forwarding table in an IP

network. See, e.g., https://www.juniper.net/documentation/en_US/junos/information-

products/pathway-pages/config-guide-vpns/config-guide-vpns-layer-3.pdf at 927 (“BGP Prefix-

Independent Convergence (PIC) Edge allows you to install a Layer 3 VPN route in the

forwarding table as an alternate path, enabling fast failover when a PE router fails or you lose

connectivity to a PE router. This already installed path is used until global convergence through

the IGP is resolved. Using the alternative VPN route for forwarding until global convergence is

complete reduces traffic loss.”); id. at 940:




                                                59
Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 60 of 173




                              60
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 61 of 173




See also id. at 941:




See also id. at 942-943:




                                      61
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 62 of 173




See also https://www.juniper.net/documentation/en US/junos/information-products/pathway-

pages/config-guide-routing/config-guide-routing-bgp.pdf at 696-697:




       135.    In the Juniper Convergence Products, the tunnel state detecting module is

configured to detect tunnel states of the at least two tunnels and update the tunnel state

information stored in the storing module when the tunnel state is changed. See, e.g.,



                                                 62
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 63 of 173




https://www.juniper.net/documentation/en_US/junos/information-products/pathway-

pages/config-guide-routing/config-guide-routing-bgp.pdf at 673 (“When reachability to an egress

router in a network fails, the IGP detects this outage, and the link state propagates this

information throughout the network and advertises the BGP next hop for that prefix as

unreachable”; id. (“On a BGP PIC enabled router, Junos OS installs the backup path for the

indirect next hop on the Routine Engine and also provides this route to the Packet Forwarding

Engine and IGP. When an IGP loses reachability to a prefix with one or more routes, it signals to

the Routing Engine with a single message prior to updating the routing tables. The Routing

Engine signals to the Packet Forwarding Engine that an indirect next hop has failed, and traffic

must be rerouted using the backup path. Routing to the impacted destination prefix continues

using the backup path even before BGP starts recalculating the new next hops for the BGP

prefixes. The router uses this backup path to reduce traffic loss until the global convergence

through the BGP is resolved.”).

       136.    In the Juniper Convergence Products, the forwarding module is configured to

select one or more available tunnels according to the state of each tunnel from the at least two

tunnels stored in the storing module and forward service according to the routing information of

the available tunnels selected. See, e.g., id. at 673 (“However, with the BGP PIC feature

enabled, even before BGP recalculates the best path for those affected prefixes, the Routing

Engine signals the data plane to switch to the standby next best path. Hence traffic loss is

minimum. The new routes are calculated even while the traffic is being forwarded, and these

new routes are pushed down to the data plane. Therefore, the number of BGP prefixes affected

does not impact the time taken from the time traffic outage occurs to the point of time at which

BGP signals the loss of reachability.”); id. at 696:




                                                 63
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 64 of 173




       137.    As such, on information and belief, Verizon has directly infringed at least claims

1-6, 8, and 17 of the ’986 Patent by at least, for example, (i) using the Cisco Convergence

Products and Juniper Convergence Products within its network for fast convergence in a manner

that infringes at least claims 1-6, 8, and 17 of the ’986 Patent; (ii) making networks and systems

that incorporate Cisco Convergence Products and Juniper Convergence Products in a manner that

infringes at least claims 1-6, 8, and 17 of the ’986 Patent and by using such components in its

communications and/or content delivery networks; and (iii) selling and offering for sale network

services that use the Cisco Convergence Products and Juniper Convergence Products in a manner

that infringes at least claims 1-6, 8, and 17 of the ’986 Patent.

       138.    On information and belief, Verizon has infringed at least claims 1-6, 8, and 17 of

the ’986 Patent by inducing others, including customers and network users that use the Cisco

Convergence Products and the Juniper Convergence Products and entities that install the Cisco

Convergence Products and the Juniper Convergence Products, to infringe at least claims 1-6, 8,

and 17 of the ’986 Patent in violation of 35 U.S.C. § 271(b).

       139.    On information and belief, Verizon takes active steps to induce infringement of at

least claims 1-6, 8, and 17 of the ’986 Patent by others, including its customers, and Verizon

takes such active steps knowing that those steps will induce, encourage and facilitate direct

infringement by others.

       140.    On information and belief, Verizon knows or should know that such activities

induce others to directly infringe at least claims 1-6, 8, and 17 of the ’986 Patent.



                                                  64
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 65 of 173




       141.    On information and belief, Verizon contributes to the infringement of at least

claims 1-6, 8, and 17 of the ’986 Patent by others, including its customers. Acts by Verizon that

contribute to the infringement of others include, but are not limited to, the sale, offer for sale,

and/or importation by Verizon of the Cisco Convergence Products and the Juniper Convergence

Products. Such Cisco Convergence Products and Juniper Convergence Products are especially

made for or adapted for use to infringe at least claims 1-6, 8, and 17 of the ’986 Patent and are at

least a material part of those claims, for example, as described above. The Cisco Convergence

Products and the Juniper Convergence Products, including the functionality contributing to

infringement of the ’986 Patent, are not suitable for substantial noninfringing use.

       142.    By way of at least Huawei’s notice to Verizon in February 2019 and on March 29,

2019 (as well as this Complaint), Verizon knows of the ’986 Patent and performs acts that it

knows, or should know, induce and/or contribute to the direct infringement of at least claims 1-6,

8, and 17 of the ’986 Patent by third parties.

       143.    Verizon undertook and continues its infringing actions despite an objectively high

likelihood that such activities infringed the ’986 Patent, which is presumed valid. For example,

Verizon has been aware of an objectively high likelihood that its actions constituted, and

continue to constitute, infringement of the ’986 Patent and that the ’986 Patent is valid since at

least March 29, 2019. Verizon could not reasonably subjectively believe that its actions do not

constitute infringement of the ’986 Patent, nor could it reasonably subjectively believe that

the ’986 Patent is invalid. Despite that knowledge, subjective belief, and the objectively high

likelihood that its actions constitute infringement, Verizon has continued its infringing activities.

As such, Verizon willfully infringes the ’986 Patent.




                                                  65
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 66 of 173




        144.    Huawei has been irreparably harmed by Verizon’s infringement of the ’986 Patent

and will continue to be harmed unless and until Verizon’s infringement is enjoined by this Court.

        145.     By its actions, Verizon has injured Huawei and is liable to Huawei for

infringement of the ’986 Patent pursuant to 35 U.S.C. § 271.

                 COUNT III: INFRINGEMENT OF PATENT NO. 10,027,693

        146.    Huawei realleges and incorporates by reference Paragraphs 1-145 above, as if

fully set forth herein.

        147.    The U.S. Patent Office duly and properly issued the ’693 Patent, entitled

“Method, Device and System for Alerting against Unknown Malicious Codes within a Network

Environment,” on July 17, 2018. Huawei Digital is the assignee of all right, title, and interest in

and to the ’693 Patent and possesses the exclusive right of recovery for past, present, and future

infringement. Each and every claim of the ’693 Patent is valid and enforceable. A true and

correct copy of the ’693 Patent is attached hereto as Exhibit C.

        148.    The ’693 Patent provides novel, useful and more effective and efficient

techniques for protecting users from malicious downloads. When hackers discover new security

vulnerabilities, they quickly develop malicious code to exploit the vulnerabilities and typically

deploy that code over the Internet. See the ’693 Patent at 1:27-32. The longer it takes to identify

the malicious code and release a patch, the more damage can result. See id. at 1:32-41.

        149.    Prior to the inventions of the ’693 Patent, network gateway devices such as those

operated by Internet Service Providers (“ISPs”) were unable to report suspicious code

downloaded by users. Id. at 1:42-43. And antivirus software may not be installed and/or

properly maintained on end user terminals, making both the terminals and the surrounding

network more vulnerable to the propagation of malicious code. Id. at 1:51-54.




                                                66
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 67 of 173




       150.    The ’693 Patent provide technical solutions to the problems in the prior art

described above. The ’693 Patent discloses, for example, a technique whereby the network

device records the source path of a file requested by a terminal for download. See, e.g., id. at

3:26-31. The network device judges, based on the request for the file or the data stream carrying

the file whether it is some form of executable file. See, e.g., id. at 3:32-34. If the file requested

for download is an executable file, the network device sends a first alert including the source

path to a monitoring device. See, e.g., id. at 3:35-37.

       151.    The monitoring device downloads the executable file from the provided source

path and either compares the characteristics of it to other known malicious code or runs the

executable in a sandbox to determine the likelihood of the executable file being malicious. See,

e.g., id. at 5:24-61. The maliciousness of the file is determined. See, e.g., id. at 5:41-43, 5:59-

61. The monitoring device sends a second alert to the network device that “includes

maliciousness of the suspicious code, or includes both the maliciousness of the suspicious code

and the Botnet topology information.” See, e.g., id. at 6:8-11. From the information in the

second alert, the network device can intercept the suspicious code. See, e.g., id. at 6:15-17. The

second alarm information may also contain information regarding the topology of a Botnet, and

the network device may use this topology information to intercept packets transmitted in the

Botnet. See, e.g., id. at 6:18-22.

       152.    The inventions of the ’693 Patent improve network functionality by improving

and solving problems in a networked device’s capability of preventing the download and spread

of malicious code more thoroughly and with better efficiency. The inventions of the ’693 Patent

provide a computer-based solution to a computer-specific problem. The inventions of the ’693

Patent are improvements over the prior art and other techniques for preventing malware attacks,




                                                  67
           Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 68 of 173




and the ’693 Patent enables a combination of features not present in the prior art and other

techniques.

       153.     For example, the inventions of the ’693 Patent provide for improved network

security by preventing malware attacks independently from and transparently to the user terminal

requesting the malware.

       154.     By way of further example, the inventions of the ’693 Patent provide for

improved computer and network operation by more thoroughly preventing malware attacks

through an architecture where network entities send queries about suspicious downloads to a

monitoring service that is able to aggregate knowledge of malicious code from various network

devices.

       155.     As such, the ’693 inventions thereby prevent malware attacks more thoroughly

and with better efficiency, which represents a concrete improvement over prior art techniques.

       156.     The claims of the ’693 Patent contain an inventive concept to improve the

functioning of computers and other networked devices. Claims 1, 3, 5, and 8 claim ordered

combinations of activities of a computer or networked device that were new, novel, innovative,

and unconventional at the time the ’693 Patent application was filed. These ordered

combinations are set forth in claims 1, 3, 5, and 8 of the ’693 Patent. The ordered combinations

of elements in claim 1, 3, 5, and 8 were not well understood, routine or conventional at the time

the ’693 Patent application was filed. The ordered combinations of the inventions of claims 1, 3,

5, and 8 are practical, particular, non-conventional, and non-generic techniques of protecting a

client computer from malware transmitted over a network such as the Internet.

       157.     In violation of 35 U.S.C. § 271, Verizon has directly infringed, contributed to the

infringement of, and/or induced others to infringe at least claims 1, 3, 5, and 8 of the ’693 Patent




                                                 68
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 69 of 173




by, among other things, making, using, offering for sale, selling, and/or importing into the United

States unlicensed systems, products, and/or services that infringe such claims of the ’693 Patent.

Such unlicensed systems, products, and/or services include, by way of example and without

limitation, Juniper SRX Series and/or virtualized SRX (“vSRX”) Services Gateways supporting

Juniper Sky Advanced Threat Protection (“Juniper ATP Client Products”) and the Juniper Sky

Advanced Threat Protection Appliance and/or Cloud service (“Juniper ATP Server Products”)

(collectively, “Juniper ATP Products”).

       158.    Juniper ATP Client Products are network devices that alert against unknown

malicious codes. See, e.g., https://www.juniper.net/documentation/en_US/release-

independent/sky-atp/information-products/pathway-pages/sky-atp-admin-guide.pdf at 3-4:




                                                69
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 70 of 173




       159.    Juniper ATP Client Products receive a request sent by a terminal for obtaining a

file from a network entity and a data stream carrying the file. See, e.g., id. at 8:




                                                  70
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 71 of 173




       160.    Juniper ATP Client Products record a source path carried in the request, wherein

the network entity provides the file on the source path. See, e.g., id. at 8, 157-158, 181:




                                                 71
Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 72 of 173




                              72
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 73 of 173




        161.    Juniper ATP Client Products judge whether the file is an executable file according

to at least one of: the request and the data stream carrying the file. See, e.g., id. at 7-8, 95:




                                                   73
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 74 of 173




       162.    When the Juniper ATP Client Products judge the file is an executable file, the

Juniper ATP Client Products send first alert information that carries the source path to a

monitoring device. See, e.g., id. at 7-8, 181:




                                                 74
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 75 of 173




       163.    Juniper ATP Client Products receive second alarm information sent by the

monitoring device after further detecting the file downloaded according to the source path by the

monitoring device. See, e.g., id. at 7, 181:




                                               75
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 76 of 173




       164.    Juniper ATP Client Products intercept the executable file according to one of the

maliciousness of the executable file; or the executable file and packets transmitted in a Botnet

according to the second alarm information comprising the maliciousness of the executable file

and Botnet topology information. See, e.g., id. at 7, 181:




                                                76
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 77 of 173




        165.    With respect to claim 3, Juniper ATP Client Products comprise computing

hardware and a non-transitory computer-readable storage medium including computer-

executable instructions executed by the computing hardware to perform the operations recited in

paragraphs 158 through 164 above.

        166.    With respect to claim 5, Juniper ATP Products are a system comprising a network

device (e.g., a Juniper ATP Client Product) and a monitoring device (e.g., a Juniper ATP Server

Product).

        167.    Juniper ATP Client Products comprise a first computing hardware and a first non-

transitory computer-readable storage medium including a first set of computer-executable

instructions executed by the first computing hardware to perform, on the network device, the

operations recited in paragraphs 158 through 164 above.

        168.    Juniper ATP Server Products receive the first alert information from the network

device. See, e.g., id. at 181:




                                                77
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 78 of 173




        169.        Juniper ATP Server Products download an executable file according to the source

path. See, e.g., id. at 181, 158:




        170.        Juniper ATP Server Products detect the executable file to confirm maliciousness

of the executable file. See, e.g., id. at 181:




        171.        Juniper ATP Server Products send the second alarm information to the network

device, wherein the second alarm information comprises one of: maliciousness of the executable

file, and both the maliciousness of the executable file and Botnet topology information. See,

e.g., id. at 181:


                                                   78
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 79 of 173




       172.    Juniper ATP Server Products comprise a second computing hardware and a

second non-transitory computer-readable storage medium including a second set of computer-

executable instructions executed by the second computing hardware to perform the operations

recited in paragraphs 168 through 171 above.

       173.    With respect to claim 8, Juniper ATP Client Products comprise a non-transitory

computer readable medium storing instructions for execution by a processor, the instructions

causing the processor to be configured to provide the operations recited in paragraphs 158

through 164 above.

       174.    As such, on information and belief, Verizon has directly infringed at least claims

1, 3, 5, and 8 of the ’693 Patent by at least, for example, making, using, selling, and offering for

sale Juniper ATP Products. For example, “Verizon Wireless has selected Juniper Networks’

SRX Series Services Gateway to provide added network protection for mobile data users.”

https://www.convergedigest.com/2010/02/verizon-wireless-selects-juniper-srx.html. On

information and belief, Verizon uses multiple Juniper ATP Client Products in its network that are

used with the Juniper ATP Server Products:




                                                 79
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 80 of 173




https://enterprise.verizon.com/service guide/reg/cp mwan plus managed wan service 2016JU

L15_mk.htm.




https://www.juniper.net/documentation/en_US/release-independent/sky-atp/information-

products/topic-collections/sky-atp-supported-platforms-guide.pdf. As another example, on

information and belief, Verizon uses the Juniper ATP Server Products:




                                              80
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 81 of 173




https://www.icsalabs.com/news-article/five-security-solutions-maintain-icsa-labs-advanced-

threat-defense-atd-certification-af. The Juniper ATP Server Products are used for free by

supported Juniper ATP Client Products. https://www.juniper.net/documentation/en US/release-

independent/licensing/topics/topic-map/advanced-threat-prevention-licensing.html#id-licenses-

for-juniper-sky-advanced-threat-prevention-atp (“The free model solution is available on all

supported SRX Series devices (see the Supported Platforms Guide ) and for customers that have

a valid support contract, but only scans executable file types (see Juniper Sky Advanced Threat

Prevention Profile Overview). Based on this result, the SRX Series device can allow the traffic

or perform inline blocking.”).




https://www.icsalabs.com/products?tid%5b%5d=5352.




                                               81
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 82 of 173




https://www.juniper.net/assets/uk/en/local/pdf/infographics/3050066-en.pdf. ICSA Labs is a

division of Verizon. See, e.g., https://www.icsalabs.com/about-icsa-labs.

       175.    On information and belief, Verizon has infringed at least claims 1, 3, 5, and 8 of

the ’693 Patent by inducing others to infringe at least claims 1, 3, 5, and 8 of the ’693 Patent in

violation of 35 U.S.C. § 271(b).

       176.    On information and belief, Verizon takes active steps to induce infringement of at

least claims 1, 3, 5, and 8 of the ’693 Patent by others, including its customers, and Verizon takes

such active steps knowing that those steps will induce, encourage and facilitate direct

infringement by others. Such active steps include, but are not limited to, encouraging,

advertising (including by internet websites, television, store displays, print advertisements, etc.),

promoting, and instructing others to use network services that utilize Juniper ATP Products. See

supra, paragraph 174; see also https://digiworld.news/news/36143/verizon-cloud-marketplace-

simplifies-cloud-purchasing-experience (“Verizon Enterprise Solutions is simplifying the cloud-

purchasing experience for its clients, with the launch of Verizon Cloud Marketplace, a key



                                                 82
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 83 of 173




foundational component of the company’s robust ecosystem of enterprise-class technologies. . . .

A virtualized version of the award-winning Juniper Networks SRX Series Services Gateway,

Firefly Perimeter can be easily deployed and managed centrally or individually as a full-featured

virtual firewall for each department, application or tenant.”); https://investor.juniper.net/investor-

relations/press-releases/press-release-details/2016/Juniper-Networks-Joins-Verizons-Tech-

Partner-Ecosystem-for-Virtual-Network-Services/default.aspx (“Verizon business customers can

elect to use Juniper Networks vSRX, one of the industry's most efficient and powerful virtual

firewalls, as a VNF through Verizon's Virtual Network Services to protect data assets and

remove network threats. As one of the industry's fastest virtual security and routing platforms

available, Juniper Networks vSRX delivers core firewall, networking, advanced security and

automated lifecycle management for cloud environments.”);

https://www.channelfutures.com/cloud-2/verizon-launches-cloud-marketplace (“Verizon

Enterprise Solutions has announced the launch of Verizon Cloud Marketplace, the company’s

online storefront for cloud-based services. As of the launch, the Cloud Marketplace features pre-

built cloud services from several partner companies, including AppDynamics, Hitachi Data

Systems, Juniper Networks (JNPR), pfSense and Tervela.”); https://www.cloudcomputing-

news.net/news/2014/nov/19/verizon-announces-its-cloud-marketplace-open-business/ (“Verizon

Enterprise Solutions has announced the official launch of its Verizon Cloud Marketplace, a store

for software certified to operate in the Verizon cloud. The communications provider has been

aggressive in its cloud push in recent months, and is opening up this one-stop shop with a variety

of partners, including AppDynamics, Hitachi and Juniper Networks.”).




                                                 83
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 84 of 173




       177.    On information and belief, Verizon knows or should know that such activities

induce others to directly infringe at least claims 1, 3, 5, and 8 of the ’693 Patent, including for

example, by prompting them to use network services that utilize Juniper ATP Products.

       178.    On information and belief, Verizon contributes to the infringement of at least

claims 1, 3, 5, and 8 of the ’693 Patent by others, including its customers. Acts by Verizon that

contribute to the infringement of others include, but are not limited to, the sale, offer for sale,

and/or importation by Verizon of network services that utilize Juniper ATP Products. Such

Juniper ATP Products are especially made for or adapted for use to infringe at least claims 1, 3,

5, and 8 of the ’693 Patent and are at least a material part of those claims, for example, as

described above with respect to claim 1. The Juniper ATP Products, including the functionality

contributing to infringement of the ’693 Patent, are not suitable for substantial noninfringing use.

       179.    By way of at least Huawei’s notice to Verizon in February 2019 and on March 29,

2019 (as well as this Complaint), Verizon knows of the ’693 Patent and performs acts that it

knows, or should know, induce and/or contribute to the direct infringement of at least claims 1,

3, 5, and 8 of the ’693 Patent by third parties.

       180.    Verizon undertook and continues its infringing actions despite an objectively high

likelihood that such activities infringed the ’693 Patent, which is presumed valid. For example,

Verizon has been aware of an objectively high likelihood that its actions constituted, and

continue to constitute, infringement of the ’693 Patent and that the ’693 Patent is valid since at

least March 29, 2019. Verizon could not reasonably subjectively believe that its actions do not

constitute infringement of the ’693 Patent, nor could it reasonably subjectively believe that

the ’693 Patent is invalid. Despite that knowledge, subjective belief, and the objectively high




                                                   84
         Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 85 of 173




likelihood that its actions constitute infringement, Verizon has continued its infringing activities.

As such, Verizon willfully infringes the ’693 Patent.

        181.    Huawei has been irreparably harmed by Verizon’s infringement of the ’693 Patent

and will continue to be harmed unless and until Verizon’s infringement is enjoined by this Court.

        182.     By its actions, Verizon has injured Huawei and is liable to Huawei for

infringement of the ’693 Patent pursuant to 35 U.S.C. § 271.

                 COUNT IV: INFRINGEMENT OF PATENT NO. 7,609,288

        183.    Huawei realleges and incorporates by reference Paragraphs 1-182 above, as if

fully set forth herein.

        184.    The U.S. Patent Office duly and properly issued the ’288 Patent, entitled “Method

and apparatus of transferring the desktop of PC to video communication terminal,” on October

27, 2009. Huawei Technologies is the assignee of all right, title, and interest in and to the ’288

Patent and possesses the exclusive right of recovery for past, present, and future infringement.

Each and every claim of the ’288 Patent is valid and enforceable. A true and correct copy of

the ’288 Patent is attached hereto as Exhibit D.

        185.    The ’288 Patent provides novel, useful and more effective and efficient

techniques for transferring desktop information of a PC to a video communication terminal (e.g.,

a local video communication terminal and a remote video communication terminal) that

overcome the problems of the prior art and thereby improve the functioning of computer and

network equipment. See, e.g., ’288 Patent at Abstract.

        186.    The ’288 Patent is generally directed to a novel and inventive technical solution to

a problem relating to computer and networking technology, and in particular to the problem of

transferring desktop information of a PC to a video communication terminal. ’288 Patent at

1:16-19. With the rising demand for reliable video communications and videoconferencing,


                                                   85
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 86 of 173




conference participants frequently need to transfer desktop information to a location with high

quality and efficient network utilization. Id. at 1:24-29. Previous attempts to solve this problem

had various disadvantages. Id. at 1:44-46.

       187.    Before the invention of the ’288 Patent, one solution involved projecting desktop

information of a PC with a projector, capturing the projected image with the video camera of a

local videoconference terminal, and transferring the desktop information to a remote video

communication terminal after processing. Id. at 1:30-36. The ’288 Patent recognized that, in

order to maintain higher clarity, this solution required the captured image to be smaller. Id. at

1:46-49.

       188.    Another solution from before the invention of the ’288 Patent involved

transforming the desktop information to a standard PAL/NTSC (Phase Alternating Line/National

Television System Committee) format signal with a VGA (Video Graphic Array) converter,

inputting the PAL/NTSC format signal to the local videoconference terminal as one of the video

source signals, and transferring the desktop information to a remote video communication

terminal after processing. Id. at 1:36-43. The ’288 Patent recognized that there is a loss in the

VGA converter during the conversion of the digital signal to an analog signal, so the clarity of

the images decreases greatly. Id. at 1:49-56. Thus, prior to the inventions of the ’288 Patent,

there existed a need for a higher quality and more efficient method for transferring desktop

information of a PC to a video communication terminal.

       189.    The inventions of the ’288 Patent provide technical solutions to the problems in

the prior art described above. The ’288 Patent describes, for example, capturing desktop

information of the PC after receiving a triggering command, and converting a PC format of the

desktop information into a format of a local video communication terminal. Id. at 2:1-4. The




                                                 86
          Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 87 of 173




converted desktop format is encoded in a mode ensured by the local video communication

terminal and sent to the local video communication terminal. Id. at 2:5-8. The local video

communication terminal receives the coded bit stream and transfers the coded bit stream to a

remote video communication terminal through a transmission channel after processing. Id. at

2:9-12.

          190.   The inventions of the ’288 Patent improve computer and network equipment

functionality by improving and solving problems in a computer or networked device’s capability

of transferring desktop information of a PC to a video communication terminal with higher

quality and better efficiency. The inventions of the ’288 Patent provide a computer-based

solution to a computer-specific problem. The inventions of the ’288 Patent are improvements

over the prior art and other techniques for transferring desktop information of a PC to a video

communication terminal, and the ’288 Patent enables a combination of features not present in the

prior art and other techniques.

          191.   For example, the inventions of the ’288 Patent provide for improved computer

and network operation by transferring desktop information of a PC directly in a digital coded bit

stream mode without converting the digital signal to analog signal. This provides the additional

advantage of avoiding the losses associated with a VGA converter and improving the clarity at

the video communication terminal.

          192.   As another example, the inventions of the ’288 Patent provide for improved

computer and network operation by allowing the desktop information to be pre-processed before

transmission. This allows for a reduction in the amount of bandwidth required. This also allows

for the displayed content to include text files, films, or anything else that can be displayed on a

PC screen.




                                                 87
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 88 of 173




       193.    As another example, the inventions of the ’288 Patent provide for improved

computer and network operation by allowing moving images and the desktop information to be

transmitted simultaneously or alternatively. See, e.g., ’288 Patent at 2:47-48.

       194.    The claims of the ’288 Patent contain an inventive concept to improve the

functioning of computers and other networked devices. Claims 1, 2, 5, 7, 9, 10, 12, and 14 claim

ordered combinations of activities of a computer or networked device that were new, novel,

innovative, and unconventional at the time the ’288 Patent application was filed. These ordered

combinations are set forth in claims 1, 2, 5, 7, 9, 10, 12, and 14 of the ’288 Patent. The ordered

combinations of elements in claim 1, 2, 5, 7, 9, 10, 12, and 14 were not well understood, routine

or conventional at the time the ’288 Patent application was filed. The ordered combinations of

the inventions of claims 1, 2, 5, 7, 9, 10, 12, and 14 are practical, particular, non-conventional

and non-generic techniques of transferring desktop information of a PC to a remote video

communication terminal.

       195.    In violation of 35 U.S.C. § 271, Verizon has directly infringed, contributed to the

infringement of, and/or induced others to infringe at least claims 1, 2, 5, 7, 9, 10, 12, and 14 of

the ’288 Patent by, among other things, making, using, offering for sale, selling, and/or

importing into the United States unlicensed systems, products, and/or services that infringe such

claims of the ’288 Patent. Such unlicensed systems, products, and/or services include, by way of

example and without limitation, Cisco Webex from Verizon, and/or Cisco room video endpoints

such as the Cisco MX, SX, and IX series, and Cisco Spark Room Series, and/or the components

thereof, which allow for transferring desktop information of a PC to a remote video

communication terminal. In addition, users of Cisco Webex from Verizon infringe at least

claims 1, 2, 5, 7, 9, 10, 12, and 14 of the ’288 Patent by, for example, using the capabilities of




                                                 88
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 89 of 173




Cisco Webex from Verizon to transfer desktop information of a PC to a video communication

terminal.

       196.    Cisco Webex from Verizon transfers desktop information of a PC to a video

communication terminal. For example, Cisco Webex from Verizon transfers desktop

information of a PC to either a local or remote participant. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html

(“Using laptops paired with the video system, users can wirelessly share content on the room

system, allowing them to present both locally and to remote participants.”).

       197.    Cisco Webex from Verizon captures desktop information of the PC after

receiving a triggering command. For example, Cisco Webex from Verizon captures desktop

information at certain intervals, resulting in “snapshots” of desktop information. See, e.g.,

https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




Id.

       198.    Cisco Webex from Verizon converts a PC format of the desktop information into

a format of a local video communication terminal. For example, Cisco Webex from Verizon

converts a PC format of the desktop information into a format of a local Cisco room video

endpoint. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-

proximity.html.


                                                 89
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 90 of 173




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       199.   Cisco Webex from Verizon encodes the converted desktop format in a mode

ensured by the local video communication terminal. For example, Cisco Webex from Verizon

encodes the converted desktop information into a mode ensured by the local Cisco room video

endpoint. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-

proximity.html.




                                               90
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 91 of 173




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       200.   Cisco Webex from Verizon sends the coded bit stream to the local video

communication terminal. For example, Cisco Webex from Verizon sends the coded bit stream to

the local Cisco room video endpoint. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




                                                  91
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 92 of 173




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       201.   Cisco Webex from Verizon receives the coded bit stream by the local video

communication terminal. For example, the local Cisco room video endpoint receives the coded

bit stream. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-

endpoints/intelligent-proximity.html.




Id.




                                               92
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 93 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       202.    Cisco Webex from Verizon transfers the coded bit stream to a remote video

communication terminal through transmission channel after processing. For example, Cisco

Webex from Verizon transfers the coded bit stream to any remote participants in the call after

processing. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-

endpoints/intelligent-proximity.html.




Id.




                                               93
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 94 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       203.   With respect to claim 2, Cisco Webex from Verizon pre-processes the captured

desktop information. See, e.g., https://community.cisco.com/t5/mobile-applications-

documents/troubleshooting-guide-cisco-proximity/ta-p/3148841.




Id.

       204.   With respect to claim 5, Cisco Webex from Verizon captures desktop information

of the PC from a video memory of the PC.




                                              94
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 95 of 173




        205.   With respect to claim 7, Cisco Webex from Verizon simultaneously transfers the

coded bit stream of the desktop information and that of a local image in a multiplex encoding

mode.

        206.   With respect to claim 9, Verizon uses an apparatus for transferring desktop

information of a PC to a video communication terminal. For example, a PC with Cisco Webex

from Verizon transfers desktop information of a PC to either a local or remote participant. See,

e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html

(“Using laptops paired with the video system, users can wirelessly share content on the room

system, allowing them to present both locally and to remote participants.”).

        207.   Further with respect to claim 9, Verizon uses an apparatus comprising a

background processing-device, capturing desktop information of the PC, converting the captured

desktop information from a PC format to a format of a local video communication terminal. For

example, a PC with Cisco Webex from Verizon captures desktop information of the PC and

converts a PC format of the desktop information into a format of a local Cisco room video

endpoint. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-

proximity.html.




Id.




                                               95
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 96 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       208.   Further with respect to claim 9, Verizon uses an apparatus comprising a

background processing-device, encoding the converted format to a coded bit stream and

outputting. For example, a PC with Cisco Webex from Verizon encodes the converted desktop

information into a coded bit stream and outputs to the local Cisco room video endpoint. See,

e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




Id.




                                               96
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 97 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       209.    Further with respect to claim 9, Verizon uses an apparatus further comprising a

terminal processing-device, transferring the coded bit stream from the background processing-

device to a remote video communication terminal. For example, a local Cisco room video

endpoint transfers the coded bit stream to any remote participants in the call. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




Id.




                                                 97
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 98 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       210.    With respect to claim 10, Verizon uses an apparatus wherein the background

processing-device comprises: a capture driver, sending out a triggering command; a capturing

device, receiving the triggering command from the capture driver and capturing the desktop

information, then outputting; an image converter, receiving the captured desktop information

from the capturing device and converting into the format of the local video communication

terminal, then outputting; a background encoder, encoding output signal from said image

converter into the coded bit stream; and a background bit stream sender, sending the coded bit

stream to the terminal processing-device. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




                                                98
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 99 of 173




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       211.    With respect to claim 12, Verizon uses an apparatus wherein the terminal

processing-device comprises a terminal bit stream transmitter that transfers the coded bit stream

to the remote video communication terminal. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




                                                99
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 100 of 173




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       212.    With respect to claim 14, Verizon uses an apparatus wherein the terminal

processing-device further comprises a terminal encoder that encodes a local image and then

outputs to the terminal bit stream transmitter. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




Id.




                                                 100
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 101 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

        213.    As such, on information and belief, Verizon has directly infringed at least claims

1, 2, 5, 7, 9, 10, 12, and 14 of the ’288 Patent by at least, for example, performing testing of

Cisco Webex from Verizon.

        214.    On information and belief, Verizon has infringed at least claims 1, 2, 5, 7, 9, 10,

12, and 14 of the ’288 Patent by inducing others, including users of Cisco Webex from Verizon

that it sells and/or offers, to infringe at least claims 1, 2, 5, 7, 9, 10, 12, and 14 of the ’288 Patent

in violation of 35 U.S.C. § 271(b).

        215.    On information and belief, Verizon takes active steps to induce infringement of at

least claims 1, 2, 5, 7, 9, 10, 12, and 14 of the ’288 Patent by others, including its customers, and

Verizon takes such active steps knowing that those steps will induce, encourage and facilitate

direct infringement by others. Such active steps include, but are not limited to, encouraging,

advertising (including by internet websites, television, store displays, print advertisements, etc.),



                                                  101
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 102 of 173




promoting, and instructing others to use and/or how to transfer desktop information of a PC to a

video communication terminal. Such video communication terminals include those made, sold,

offered for sale, and/or imported by Verizon, such as the various Cisco room video endpoints.

For example, Verizon induces users of Cisco Webex by Verizon to use one or more claimed

inventions of the ’288 Patent by instructing users how to transfer desktop information of a PC to

a video communication terminal, such as a Cisco room video endpoint. See, e.g.,

https://enterprise.verizon.com/products/business-communications/unified-communications-and-

collaboration/cisco-webex/.




https://enterprise.verizon.com/resources/factsheets/2018/cisco-webex.pdf. On information and

belief, Verizon knows or should know that such activities induce others to directly infringe at

least claims 1, 2, 5, 7, 9, 10, 12, and 14 of the ’288 Patent.

       216.    On information and belief, Verizon contributes to the infringement of at least

claims 1, 2, 5, 7, 9, 10, 12, and 14 of the ’288 Patent by others, including its customers. Acts by

Verizon that contribute to the infringement of others include, but are not limited to, the sale,

offer for sale, and/or importation by Verizon of Cisco Webex by Verizon and/or Cisco room

video endpoints. Such Cisco Webex by Verizon and/or Cisco room video endpoints are

especially made for or adapted for use to infringe claims 1, 2, 5, 7, 9, 10, 12, and 14 of the ’288



                                                 102
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 103 of 173




Patent and are at least a material part of those claims, for example, as described above with

respect to claim 1. Cisco Webex by Verizon and/or Cisco room video endpoints, including the

functionality contributing to infringement of the ’288 Patent, are not suitable for substantial

noninfringing use.

        217.    By way of at least Huawei’s notice to Verizon on March 29, 2019 (as well as this

Complaint), Verizon knows of the ’288 Patent and performs acts that it knows, or should know,

induce and/or contribute to the direct infringement of at least claims 1, 2, 5, 7, 9, 10, 12, and 14

of the ’288 Patent by third parties.

        218.    Verizon undertook and continues its infringing actions despite a high likelihood

that such activities infringed the ’288 Patent, which is presumed valid. For example, Verizon has

been aware of a high likelihood that its actions constituted, and continue to constitute,

infringement of the ’288 Patent and that the ’288 Patent is valid since at least March 29, 2019.

Verizon could not reasonably subjectively believe that its actions do not constitute infringement

of the ’288 Patent, nor could it reasonably subjectively believe that the patent is invalid. Despite

that knowledge, subjective belief, and the objectively high likelihood that its actions constitute

infringement, Verizon has continued its infringing activities. As such, Verizon willfully

infringes the ’288 Patent.

        219.    Huawei has been irreparably harmed by Verizon’s infringement of the ’288 Patent

and will continue to be harmed unless and until Verizon’s infringement is enjoined by this Court.

        220.     By its actions, Verizon has injured Huawei and is liable to Huawei for

infringement of the ’288 Patent pursuant to 35 U.S.C. § 271.

                  COUNT V: INFRINGEMENT OF PATENT NO. 9,521,366

        221.    Huawei realleges and incorporates by reference Paragraphs 1-220 above, as if

fully set forth herein.


                                                 103
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 104 of 173




       222.    The U.S. Patent Office duly and properly issued the ’366 Patent, entitled “Method

and apparatus for playing conference signal, video conference terminal, and mobile device” on

December 13, 2016. Huawei Technologies is the assignee of all right, title, and interest in and to

the ’366 Patent and possesses the exclusive right of recovery for past, present, and future

infringement. Each and every claim of the ’366 Patent is valid and enforceable. A true and

correct copy of the ’366 Patent is attached hereto as Exhibit E.

       223.    The ’366 Patent provides novel, useful and more effective and efficient

techniques for playing a conference signal that overcome the problems of the prior art and

thereby improve the functioning of computer and network equipment. See, e.g., ’366 Patent at

Abstract.

       224.    The ’366 Patent is generally directed to a novel and inventive technical solution to

a problem relating to computer and networking technology, and in particular to the problem of

playing a conference signal. ’366 Patent at 1:17-20. With the rising demand for reliable video

communications and videoconferencing, conference participants frequently need to display a

main stream signal and a presentation stream signal at the same time. Id. at 1:24-62. Previous

attempts to solve this problem included various disadvantages. Id. at 2:12-17.

       225.    Before the invention of the ’366 Patent, one solution required the presentation

stream signal to be displayed on a display device of the site in a picture in picture (PIP) manner,

that is, to display the main stream signal in full screen, and display the presentation stream signal

in an inset window, or display the presentation stream signal in full screen, and display the main

stream signal in an inset window. Id. at 1:67-2:11. The ’366 Patent recognized that a size of a

signal displayed in an inset window is relatively small, and a signal that is displayed in an inset

window blocks a part of a signal that is displayed in full screen, which leads to relatively




                                                104
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 105 of 173




undesirable effects of displaying the main stream signal and the presentation stream signal. Id. at

2:12-17. Thus, prior to the inventions of the ’366 Patent, there existed a need for a higher quality

and more efficient method for displaying a main stream signal and a presentation stream signal at

the same time.

       226.      The inventions of the ’366 Patent provide technical solutions to the problems in

the prior art described above. The ’366 Patent describes, for example, establishing a connection

channel between a mobile device held by a conference participant located at a site and a video

conference terminal located at the site. Id. at 2:32-36. A first type of signal is sent through the

connection channel to the mobile device for play. Id. at 2:36-40. A second type of signal is sent

to a primary playing device of the site for play. Id. at 2:40-42. When the first type signal is a

presentation stream signal, the second type signal is a main stream signal, and when the first type

signal is the main stream signal, the second type signal is the presentation stream signal. Id. at

2:42-46.

       227.      The inventions of the ’366 Patent improve computer and network equipment

functionality by improving and solving problems in a computer or networked device’s capability

of playing a conference signal with higher quality and better efficiency. The inventions of

the ’366 Patent provide a computer-based solution to a computer-specific problem. The

inventions of the ’366 Patent are improvements over the prior art and other techniques for

playing a conference signal, and the ’366 Patent enables a combination of features not present in

the prior art and other techniques.

       228.      For example, the inventions of the ’366 Patent provide for improved computer

and network operation by displaying a main stream signal and a presentation stream signal

without requiring one signal to be displayed in an inset window. This provides the additional




                                                 105
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 106 of 173




advantage of improving the display’s quality and avoiding an inset window blocking a part of a

signal that is displayed in full screen.

        229.    As another example, the inventions of the ’366 Patent provide for improved

computer and network operation by establishing a connection channel between a plurality of

mobile devices held by a plurality of conference participants located at a site and a video

conference terminal located at the site. As such, the ’366 inventions thereby allow users to play

a conference signal, for example, with higher quality and more efficiency, which represents a

concrete improvement over prior art techniques.

        230.    The claims of the ’366 Patent contain an inventive concept to improve the

functioning of computers and other networked devices. Claims 1, 5, 8, 12, 15-17, 19, and 20

claim ordered combinations of activities of a computer or networked device that were new,

novel, innovative, and unconventional at the time the ’366 Patent application was filed. These

ordered combinations are set forth in claims 1, 5, 8, 12, 15-17, 19, and 20 of the ’366 Patent.

The ordered combinations of elements in claim 1, 5, 8, 12, 15-17, 19, and 20 were not well

understood, routine or conventional at the time the ’366 Patent application was filed. The

ordered combinations of the inventions of claims 1, 5, 8, 12, 15-17, 19, and 20 are practical,

particular, non-conventional and non-generic techniques of playing a conference signal.

        231.    In violation of 35 U.S.C. § 271, Verizon has directly infringed, contributed to the

infringement of, and/or induced others to infringe at least claims 1, 5, 8, 12, 15-17, 19, and 20 of

the ’366 Patent by, among other things, making, using, offering for sale, selling, and/or

importing into the United States unlicensed systems, products, and/or services that infringe such

claims of the ’366 Patent. Such unlicensed systems, products, and/or services include, by way of

example and without limitation, Cisco Webex from Verizon, mobile devices, Cisco room video




                                                106
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 107 of 173




endpoints such as the Cisco MX, SX, IX series and Cisco Spark Room series, and/or the

components thereof which allow for playing a conference signal. In addition, users of Cisco

Webex from Verizon infringe at least claims 1, 5, 8, 12, 15-17, 19, and 20 of the ’366 Patent by,

for example, using the capabilities of Cisco Webex from Verizon to play a conference signal.

       232.    Cisco Webex from Verizon plays a conference signal. For example, Cisco Webex

from Verizon plays a conference signal locally and to remote participants. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html

(“Using laptops paired with the video system, users can wirelessly share content on the room

system, allowing them to present both locally and to remote participants.”).




Id.

       233.    Cisco Webex from Verizon establishes a connection channel between a plurality

of mobile devices held by a plurality of conference participants located at a site and a video

conference terminal located at the site, wherein the video conference terminal comprises a

primary playing device. For example, Cisco Webex from Verizon establishes a connection

channel between a plurality of mobile devices held by conference participants and a Cisco room

video endpoint, which includes a device with picture, sound, and video playing capabilities. See,

e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




                                                107
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 108 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




                                            108
      Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 109 of 173




Id.




                                    109
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 110 of 173




https://www.cisco.com/c/dam/m/zh_cn/projectworkplace/assets/pdf/proximity-networking.pdf.

       234.    Cisco Webex from Verizon sends, through the established connection channel, a

first type signal in to-be-played signals to each of the mobile devices for play, wherein the to-be-

played signals are signals that are received by the video conference terminal and are to be

played. For example, Cisco Webex from Verizon sends, through the established connection

channel, a slideshow signal in to-be-played signal to a plurality of conference participants’

mobile devices for play, and the to-be-played signals are signals that are received by the Cisco

room video endpoint and are to be played. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




                                                110
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 111 of 173




Id.




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




                                            111
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 112 of 173




Id.




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       235.    Cisco Webex from Verizon sends a second type signal in the to-be-played signals

to the primary playing device of the site for play. For example, Cisco Webex from Verizon

sends a video signal in to-be-played signals to the Cisco room video endpoint’s device with

picture, sound, and video playing capabilities for play. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




                                                112
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 113 of 173




Id.




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




                                            113
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 114 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       236.    Cisco Webex from Verizon sends a first type signal and second type signal,

wherein the first type signal is a presentation stream signal when the second type signal is a main

stream signal, or the first type signal is the main stream signal when the second type signal is the

presentation stream signal. For example, Cisco Webex from Verizon sends a video signal to the

primary playing device of the Cisco room video endpoint and a slideshow signal to each of the

mobile devices. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-

endpoints/telepresence-mx-series/.




                                                114
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 115 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       237.   Cisco Webex from Verizon sends a presentation stream signal and main stream

signal, wherein the presentation stream signal comprises at least one of a document and a

demonstration slide to be displayed and the main stream signal comprises real-time content to be

displayed. For example, Cisco Webex from Verizon sends a video signal that comprises real-

time content to be displayed and a slideshow signal that comprises a demonstration slide to be

displayed. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-

endpoints/telepresence-mx-series/.




                                              115
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 116 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       238.    With respect to claim 5, Cisco Webex from Verizon plays a conference signal

implemented by a mobile device. For example, Cisco Webex from Verizon plays a conference

signal implemented by a mobile device. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html

(“Using laptops paired with the video system, users can wirelessly share content on the room

system, allowing them to present both locally and to remote participants.”).




Id.




                                               116
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 117 of 173




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       239.    Further with respect to claim 5, Cisco Webex from Verizon establishes a

connection channel between the mobile device held by a conference participant located at a site

and a video conference terminal located at the site, wherein the video conference terminal

comprises a primary playing device. For example, Cisco Webex from Verizon establishes a

connection channel between the mobile devices held by conference participants and a Cisco

room video endpoint, which includes a device with picture, sound, and video playing

capabilities. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-

endpoints/intelligent-proximity.html.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




                                               117
      Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 118 of 173




Id.




Id.




                                    118
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 119 of 173




https://www.cisco.com/c/dam/m/zh_cn/projectworkplace/assets/pdf/proximity-networking.pdf.

       240.    Further with respect to claim 5, Cisco Webex from Verizon receives, through the

established connection channel, a type of signal that is sent by the video conference terminal,

wherein the type of signal is selected from to-be-played signals comprising at least two different

types of signals. For example, Cisco Webex from Verizon receives, through the established

connection channel, a slideshow signal sent by the video conference terminal, wherein the

slideshow signal is selected from to-be-played signals comprising at least slideshow signal and a

video signal. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-

endpoints/intelligent-proximity.html.




                                               119
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 120 of 173




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




Id.




                                            120
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 121 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       241.    Further with respect to claim 5, Cisco Webex from Verizon plays the type of

signal selected from the to-be-played signals comprising the at least two different types of

signals, wherein another type of signal selected from the to-be-played signals comprising the at

least two different types of signals is played at the primary playing device. For example, Cisco

Webex from Verizon plays the slideshow signal selected from the to-be-played signals wherein

the video signal is played at the primary playing device. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




Id.




                                                121
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 122 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




Id.




                                            122
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 123 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       242.    Further with respect to claim 5, Cisco Webex from Verizon plays the type of

signal selected wherein the type of signal is a presentation stream signal or a main stream signal,

wherein the presentation stream signal comprises at least one of a document and a demonstration

slide to be displayed and the main stream signal comprises real-time content to be displayed. For

example, Cisco Webex from Verizon plays a video signal on the primary playing device of the

Cisco room video endpoint and a slideshow signal on each of the mobile devices. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/telepresence-mx-series/.




                                                123
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 124 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       243.    With respect to claim 8, Cisco room video endpoints are a video conference

terminal. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-

proximity.html.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.

       244.    Further with respect to claim 8, Cisco room video endpoints have a processor

configured to establish a connection channel between a plurality of mobile devices held by a

plurality of conference participants located at a site and the video conference terminal located at

the site. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-

proximity.html.




                                                124
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 125 of 173




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




Id.




                                            125
      Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 126 of 173




Id.




                                    126
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 127 of 173




https://www.cisco.com/c/dam/m/zh_cn/projectworkplace/assets/pdf/proximity-networking.pdf.

       245.    Further with respect to claim 8, Cisco room video endpoints have a signal

distributor configured to send, through the connection channel established by the processor, a

first type signal in to-be-played signals to each of the mobile devices for play, wherein the to-be-

played signals are signals that are received by the video conference terminal and are to be

played. For example, Cisco room video endpoints have a signal distributor configured to send,

through the connection channel established by the processor, a slideshow signal in to-be-played

signals to a plurality of conference participants’ mobile devices for play, and the to-be-played

signals are signals that are received by the Cisco room video endpoint and are to be played. See,

e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




                                                127
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 128 of 173




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




Id.




                                            128
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 129 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       246.    Further with respect to claim 8, Cisco room video endpoints have a signal

distributor further configured to send a second type signal in the to-be-played signals to a

primary playing device of the site for play. For example, Cisco room video endpoints have a

signal distributor further configured to send a video signal in to-be-played signals to the Cisco

room video endpoint’s device with picture, sound, and video playing capabilities for play. See,

e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




Id.




                                                129
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 130 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       247.    Further with respect to claim 8, in the Cisco room video endpoints, the first type

signal is a presentation stream signal when the second type signal is a main stream signal, or the

first type signal is the main stream signal when the second type signal is the presentation stream

signal. For example, the Cisco room video endpoints send a video signal to the primary playing

device of the Cisco room video endpoint and a slideshow signal to each of the mobile devices.




                                               130
           Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 131 of 173




See, e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/telepresence-mx-

series/.




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

           248.   Further with respect to claim 8, in the Cisco room video endpoints, the

presentation stream signal comprises at least one of a document and a demonstration slide to be

displayed, and the main stream signal comprises real-time content to be displayed. For example,

Cisco room video endpoints send a video signal that comprises real-time content to be displayed

and a slideshow signal that comprises a demonstration slide to be displayed. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/telepresence-mx-series/.




                                                  131
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 132 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       249.    With respect to claim 12, mobile devices with Cisco Webex from Verizon include

a processor configured to establish a connection channel between the mobile device located at a

site and a video conference terminal located at the site, wherein the video conference terminal

comprises a primary playing device. For example, mobile devices with Cisco Webex from

Verizon include a processor configured to establish a connection channel between the mobile

devices held by conference participants and a Cisco room video endpoint, which includes a

device with picture, sound, and video playing capabilities. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




                                                132
      Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 133 of 173




Id.




Id.




                                    133
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 134 of 173




https://www.cisco.com/c/dam/m/zh_cn/projectworkplace/assets/pdf/proximity-networking.pdf.

       250.    Further with respect to claim 12, mobile devices with Cisco Webex from Verizon

include a signal receiver configured to receive, through the connection channel established by the

processor, a type of signal that is sent by the video conference terminal, wherein the type of

signal is selected from to-be-played signals comprising at least two different types of signals.

For example, mobile devices with Cisco Webex from Verizon include a signal receiver

configured to receive, through the established connection channel, a slideshow signal sent by the

video conference terminal, wherein the slideshow signal is selected from to-be-played signals

comprising at least slideshow signal and a video signal. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




                                                134
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 135 of 173




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




Id.




                                            135
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 136 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       251.    Further with respect to claim 12, mobile devices with Cisco Webex from Verizon

include a player configured to play the type of signal selected from the to-be-played signals

comprising the at least two different types of signals. For example, mobile devices with Cisco

Webex from Verizon include a player configured to play the slideshow signal selected from the

to-be-played signals comprising at least the slideshow signal and the video signal. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




Id.




                                               136
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 137 of 173




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




Id.




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.




                                             137
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 138 of 173




       252.    Further with respect to claim 12, in mobile devices with Cisco Webex from

Verizon, another type of signal selected from the to-be-played signals comprises the at least two

different types of signals is played at the primary playing device. For example, in mobile

devices with Cisco Webex from Verizon, another type of signal selected from the to-be-played

signals is played at the Cisco room video endpoint’s device with picture, sound, and video

playing capabilities for play. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-

endpoints/intelligent-proximity.html.




Id.




Id.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




                                               138
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 139 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       253.    Further with respect to claim 12, in mobile devices with Cisco Webex from

Verizon, the type of signal is a presentation stream signal or a main stream signal, wherein the

presentation stream signal comprises at least one of a document and a demonstration slide to be

displayed, and the main stream signal comprises real-time content to be displayed. For example,

in mobile devices with Cisco Webex from Verizon, a video signal plays on the primary playing

device of the Cisco room video endpoint and a slideshow signal plays on each of the mobile

devices. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-endpoints/telepresence-

mx-series/.




                                               139
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 140 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       254.    With respect to claim 15, Cisco Webex from Verizon sends a first type signal and

second type signal, wherein the first type signal is the presentation stream signal and the second

type signal is the main stream signal. For example, Cisco Webex from Verizon sends a video

signal to the primary playing device of the Cisco room video endpoint and a slideshow signal to

each of the mobile devices. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-

endpoints/telepresence-mx-series/.




                                               140
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 141 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       255.    With respect to claim 16, Cisco Webex from Verizon sends a presentation stream

signal and main stream signal, wherein the presentation stream signal comprises a plurality of

first subtype signals, wherein the first subtype signals comprise at least one of the document and

the demonstration slide that is shared by another site, wherein the main stream signal comprises a

plurality of second subtype signals, and wherein the second subtype signals comprise at least one

of an image signal collected in real-time or a speech signal collected in real-time. For example,

Cisco Webex from Verizon sends a video and speech signal collected in real-time to the primary

playing device of the Cisco room video endpoint and a slideshow signal that is shared by another

site to each of the mobile devices. See, e.g.,

https://www.cisco.com/c/en/us/products/collaboration-endpoints/telepresence-mx-series/.




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html.

       256.    With respect to claim 17, Cisco Webex from Verizon establishes a connection

channel between the mobile device held by a conference participant located at a site and a video

conference terminal located at the site, wherein the connection between the mobile device and




                                                 141
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 142 of 173




the video conference terminal is a direct connection. For example, Cisco Webex from Verizon

establishes a direct connection between the mobile device and the Cisco room video endpoint,

where no routing mobile device (or relay mobile device) exists between the mobile device and

the Cisco room video endpoint. See, e.g., https://www.cisco.com/c/en/us/products/collaboration-

endpoints/intelligent-proximity.html.




https://community.cisco.com/t5/mobile-applications-documents/troubleshooting-guide-cisco-

proximity/ta-p/3148841.




Id.




                                             142
      Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 143 of 173




Id.




                                    143
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 144 of 173




https://www.cisco.com/c/dam/m/zh_cn/projectworkplace/assets/pdf/proximity-networking.pdf.

       257.    With respect to claim 19, Cisco room video endpoints have a processor further

configured to determine a master mobile device according to capability information of a plurality

of mobile devices held by a plurality of conference participants at the site and control a switching

of signals played by the primary playing device and the mobile devices according to a selection

received from the master mobile device. See, e.g., https://help.webex.com/en-

us/WBX86712/How-Do-I-Use-the-Anyone-Can-Share-Feature-in-Webex-Meetings.




                                                144
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 145 of 173




Id.

       258.    With respect to claim 20, mobile devices with Cisco Webex from Verizon include

a processor further configured to send a switching play request message to switch a signal played

by a primary playing device and the mobile device. See, e.g., https://help.webex.com/en-

us/WBX86712/How-Do-I-Use-the-Anyone-Can-Share-Feature-in-Webex-Meetings.




Id.

       259.    As such, on information and belief, Verizon has directly infringed at least claims

1, 5, 8, 12, 15-17, 19, and 20 of the ’366 Patent by at least, for example, (i) performing testing of

Cisco Webex from Verizon; (ii) making, using, offering for sale, selling, and/or importing into

the United States its mobile devices; and (iii) making, using, offering for sale, selling, and/or

importing into the United States Cisco room video endpoints.




                                                 145
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 146 of 173




        260.    On information and belief, Verizon has infringed at least claims 1, 5, 8, 12, 15-17,

19, and 20 of the ’366 Patent by inducing others, including users of Cisco Webex from Verizon

that it sells and/or offers, to infringe at least claims 1, 5, 8, 12, 15-17, 19, and 20 of the ’366

Patent in violation of 35 U.S.C. § 271(b).

        261.    On information and belief, Verizon takes active steps to induce infringement of at

least claims 1, 5, 8, 12, 15-17, 19, and 20 of the ’366 Patent by others, including its customers,

and Verizon takes such active steps knowing that those steps will induce, encourage and

facilitate direct infringement by others. Such active steps include, but are not limited to,

encouraging, advertising (including by internet websites, television, store displays, print

advertisements, etc.), promoting, and instructing others to use and/or how to play a conference

signal. Such conference signals are played on devices including those made, sold, offered for

sale, and/or imported by Verizon, such as the various Cisco room video endpoints and various

mobile devices. For example, Verizon induces users of Cisco Webex by Verizon to use one or

more claimed inventions of the ’366 Patent by instructing users how to play a conference signal

on a video conference terminal, such as a Cisco room video endpoint, or on a mobile device.

See, e.g., https://enterprise.verizon.com/products/business-communications/unified-

communications-and-collaboration/cisco-webex/.




                                                  146
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 147 of 173




https://www.cisco.com/c/en/us/products/collaboration-endpoints/intelligent-proximity.html. On

information and belief, Verizon knows or should know that such activities induce others to

directly infringe at least claims 1, 5, 8, 12, 15-17, 19, and 20 of the ’366 Patent, including for

example, by prompting them to use Cisco Webex by Verizon to play a conference signal.

       262.    On information and belief, Verizon contributes to the infringement of at least

claims 1, 5, 8, 12, 15-17, 19, and 20 of the ’366 Patent by others, including its customers. Acts

by Verizon that contribute to the infringement of others include, but are not limited to, the sale,

offer for sale, and/or import by Verizon of Cisco Webex by Verizon, Cisco room video

endpoints, and/or mobile devices. Such Cisco Webex by Verizon, Cisco room video endpoints,

and/or mobile devices are especially adapted for use to infringe at least claims 1, 5, 8, 12, 15-17,

19, and 20 of the ’366 Patent and are at least a material part of those claims, for example, as

described above with respect to claim 1. Cisco Webex by Verizon, Cisco room video endpoints,

and/or mobile devices are not suitable for substantial noninfringing use.

       263.    By way of at least Huawei’s notice to Verizon on March 29, 2019 (as well as this

Complaint), Verizon knows of the ’366 Patent and performs acts that it knows, or should know,




                                                 147
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 148 of 173




induce, and/or contribute to the direct infringement of at least claims 1, 5, 8, 12, 15-17, 19, and

20 of the ’366 Patent by third parties.

        264.    Verizon undertook and continues its infringing actions despite a high likelihood

that such activities infringed the ’366 Patent, which is presumed valid. For example, Verizon has

been aware of a high likelihood that its actions constituted, and continue to constitute,

infringement of the ’366 Patent and that the ’366 Patent is valid since at least March 29, 2019.

Verizon could not reasonably subjectively believe that its actions do not constitute infringement

of the ’366 Patent, nor could it reasonably subjectively believe that the patent is invalid. Despite

that knowledge, subjective belief, and the objectively high likelihood that its actions constitute

infringement, Verizon has continued its infringing activities. As such, Verizon willfully

infringes the ’366 Patent.

        265.    Huawei has been irreparably harmed by Verizon’s infringement of the ’366 Patent

and will continue to be harmed unless and until Verizon’s infringement is enjoined by this Court.

        266.    By its actions, Verizon has injured Huawei and is liable to Huawei for

infringement of the ’366 Patent pursuant to 35 U.S.C. § 271.

               COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 7,715,832

        267.    Huawei realleges and incorporates by reference paragraphs 1-266 above, as if

fully set forth herein.

        268.    The U.S. Patent Office duly and properly issued the ’832 Patent, entitled “Mobile

Terminal and a Method for Implementing the Guardianship Function,” on May 11, 2010.

Huawei Technologies is the assignee of all right, title, and interest in and to the ’832 Patent and

possesses the exclusive right of recovery for past, present, and future infringement. Each and

every claim of the ’832 Patent is valid and enforceable. A true and correct copy of the ’832

Patent is attached hereto as Exhibit F.


                                                148
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 149 of 173




       269.    The ’832 Patent provides novel, useful and more effective and efficient

techniques for implementing a guardianship function at a mobile terminal that overcome the

problems of the prior art and thereby improve the functioning of computer and network

equipment.

       270.    The ’832 Patent is generally directed to a novel and inventive technical solution to

a problem relating to computer and networking technology, and in particular to the problem of

implementing a guardianship function at a mobile terminal. Here, guardians (such as parents)

frequently equipped their wards (such as children) with a mobile terminal, such as a cell phone,

but when the parent needed to determine the child’s status, the parent had no choice but to

contact the child on the parent’s own initiative. Id. at 1:22-28. This made it difficult for the

parent to monitor the child’s use of the mobile terminal. Id. at 1:28-30. Previous attempts to

solve this problem included various disadvantages.

       271.    The inventions of the ’832 Patent provide technical solutions to the problems in

the prior art described above. The ’832 Patent describes, for example, collecting data by the

processing hardware related to use of the mobile terminal, analyzing the data by the processing

hardware and determining the use of the mobile terminal according the analyzing, and sending a

short message from the mobile terminal used for notifying the determined use of the mobile

terminal. See, e.g., the ’832 Patent at 9:62-11:58. The ’832 Patent further describes receiving at

the mobile terminal a remote control message for indicating that a running of at least one

program at the mobile terminal should be stopped, and stopping the running of the at least one

program according to the remote control message. See, e.g., id. at 13:4-28.

       272.    The inventions of the ’832 Patent improve computer functionality by improving

and solving problems in a computer’s capability of implementing a guardianship function at a




                                                149
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 150 of 173




mobile terminal more thoroughly and with better efficiency. The inventions of the ’832 Patent

provide a computer-based solution to a computer-specific problem. The inventions of the ’832

Patent are improvements over the prior art and other techniques for implementing a guardianship

function at a mobile terminal, and the ’832 Patent enables a combination of features not present

in the prior art and other techniques.

       273.    For example, the inventions of the ’832 Patent provide for improved computer

operation by implementing a guardianship function at a mobile terminal, which allows the parent

to monitor – and control – the child’s phone use.

       274.    By way of further example, the inventions of the ’832 Patent provide for

improved computer operation by allowing configuration commands to be sent to the child’s

mobile terminal to establish parental control requirements, implementing a guardianship function

at a mobile terminal that collects data from the child’s mobile terminal, analyzes the data to

determine the mobile terminal’s use, and sends a short message to inform the guardian of the use,

and implementing a remote control message for indicating that a running of at least one program

at the mobile terminal should be stopped, and stopping the running of the at least one program

according to the remote control message.

       275.    As such, the ’832 inventions thereby allow users to implement a guardianship

function at a mobile terminal more thoroughly and with better efficiency, which represents a

concrete improvement over prior art techniques.

       276.    The claims of the ’832 Patent contain an inventive concept improve the

functioning of computers and other networked devices. Claims 7-9 claim ordered combinations

of activities of a computer or networked device that were new, novel, innovative, and

unconventional at the time the ’832 Patent application was filed. These ordered combinations




                                                150
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 151 of 173




are set forth in claims 7-9 of the ’832 Patent. The ordered combinations of elements in claims 7-

9 were not well understood, routine or conventional at the time the ’832 Patent application was

filed. The ordered combinations of the inventions of claims 7-9 are practical, particular, non-

conventional, and non-generic techniques of implementing a guardianship function at a mobile

terminal.

       277.    In violation of 35 U.S.C. § 271, Verizon has directly infringed, contributed to the

infringement of, and/or induced others to infringe through Verizon’s Smart Family Service

(formerly known as FamilyBase):




https://www.verizonwireless.com/solutions-and-services/verizon-smart-family/. See also

https://wbillpay.verizonwireless.com/vzw/nos/safeguards/safeguardLandingPage.action.

       278.    For example, Verizon infringes at least claims 7-9 of the ’832 Patent by, among

other things, making, using, offering for sale, selling, and/or importing into the United States

unlicensed systems, products, and/or services that infringe such claims of the ’832 Patent. Such

unlicensed systems, products, and/or services include, by way of example and without limitation,

Verizon’s Smart Family Service (formerly known as FamilyBase) and/or the components

thereof, which allows for implementing a guardianship function at a mobile terminal. And users

of the Verizon Smart Family Service directly infringe at least claims 7-9 of the ’832 Patent by,


                                                151
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 152 of 173




for example, using the capabilities of the Verizon Smart Family Service to implement a

guardianship function at a mobile terminal. See https://www.verizonwireless.com/support/how-

to-use-verizon-smart-family/ (“Verizon Smart Family is a service that offers location services

and parental controls for all of your family members’ phones.”).

       279.    With respect to at least claims 7-9, the Verizon Smart Family Service is operable

to implement a guardianship function at a mobile terminal having processing hardware and

memory. See, e.g., https://www.verizonwireless.com/support/how-to-use-verizon-smart-family/

(“Verizon Smart Family is a service that offers location services and parental controls for all of

your family members’ phones.”); id. (“Make sure the Smart Family Companion app is

downloaded on your child’s phone.).

       280.    The Verizon Smart Family Service is operable to collect data by the processing

hardware related to use of the mobile terminal. See, e.g.,

https://www.verizonwireless.com/support/how-to-use-verizon-smart-family/ (“Tap Agree to

provide parental consent for the Smart Family app to collect information from your child’s phone

in order to provide the Smart Family service to you and your family.”); id. (“You’ll be taken to

the child’s system settings. Follow the instructions to set up the child’s VPN profile to collect

web and app activity, enable content filters and enforce time restrictions.”).

       281.    The Verizon Smart Family Service is operable to analyze the data by the

processing hardware and determining the use of the mobile terminal according the analyzing.

See, e.g., https://www.verizonwireless.com/support/how-to-use-verizon-smart-family/ (“You’ll

see a list of contacts your child has been communicating with.”); id. (“You’ll see a detailed view

of your child’s call and text activity for that day.”); id. (“You’ll see a detailed view of the day’s

activities, including specific websites and apps visited in each category.”).




                                                 152
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 153 of 173




       282.    The Verizon Smart Family Service is operable to send a short message from the

mobile terminal used for notifying the determined use of the mobile terminal. See, e.g.,

https://www.verizonwireless.com/support/how-to-use-verizon-smart-family/ (“You’ll see a list

of contacts your child has been communicating with.”); id. (“You’ll see a detailed view of your

child’s call and text activity for that day.”); id. (“You’ll see a detailed view of the day’s

activities, including specific websites and apps visited in each category.”).

       283.    The Verizon Smart Family Service is operable to receive at the mobile terminal a

remote control message for indicating that a running of at least one program at the mobile

terminal should be stopped. See, e.g., https://www.verizonwireless.com/support/how-to-use-

verizon-smart-family/ (“Set up content filters: You must be paired with your child’s Smart

Family Companion app to use content filters.”); id. (“View child’s web and app activity: You

must be paired with your child’s Smart Family Companion app to use this feature.”).

       284.    The Verizon Smart Family Service is operable to stop the running of the at least

one program according to the remote control message. See, e.g.,

https://www.verizonwireless.com/support/how-to-use-verizon-smart-family/ (“Set up content

filters: You must be paired with your child’s Smart Family Companion app to use content

filters.”); id. (“Tap the switch for each filter you want to turn on or off.”); id. (“Follow the

instructions to set up the child’s VPN profile to collect web and app activity, enable content

filters and enforce time restrictions.”); id. (“Pause child’s internet: You must be paired with your

child’s Smart Family Companion app to pause internet.”); id. (“1. Select the child at the top of

the screen. 2. Tap Pause internet. 3. Tap OK.”); id. (“View child’s web and app activity: You

must be paired with your child’s Smart Family Companion app to use this feature.”). See also

https://www.verizonwireless.com/support/verizon-smart-family-faqs/ (“How can I block a




                                                 153
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 154 of 173




website or app? … You can set up content filters to block all websites and apps in a variety of

content categories.”).

       285.    With respect to claim 8, the Verizon Smart Family Service is operable to identify

whether the short message received contains a predefined password, and when the short message

received contains a predefined password, determine the short message received is the remote

control message.

       286.    With respect to claim 9, the Verizon Smart Family Service is operable to perform

the method of claim 7, wherein, the use of the mobile terminal comprises any one or any

combination of the followings: playing games, opening a data service application and making a

call. See, e.g., https://www.verizonwireless.com/support/how-to-use-verizon-smart-family/

(“You’ll see a list of contacts your child has been communicating with.”); id. (“You’ll see a

detailed view of your child’s call and text activity for that day.”); id. (“You’ll see a detailed view

of the day’s activities, including specific websites and apps visited in each category.”). See also

https://www.verizonwireless.com/support/verizon-smart-family-faqs/ (“How can I block a

website or app? … You can set up content filters to block all websites and apps in a variety of

content categories.”).

       287.    As such, on information and belief, Verizon has directly infringed at least claims

7-9 of the ’832 Patent by at least, for example, performing testing of the Verizon Smart Family

Service in the United States, in violation of 35 U.S.C. § 271(a).

       288.    On information and belief, Verizon has infringed at least claims 7-9 of the ’832

Patent by inducing others, including users of the Verizon Smart Family Service that it sells

and/or offers, to infringe at least claims 7-9 of the ’832 Patent in violation of 35 U.S.C. § 271(b).




                                                 154
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 155 of 173




       289.    On information and belief, Verizon takes active steps to induce infringement of at

least claims 7-9 of the ’832 Patent by others, including its customers, and Verizon takes such

active steps knowing that those steps will induce, encourage and facilitate direct infringement by

others. Such active steps include, but are not limited to, encouraging, advertising (including by

internet websites, television, store displays, print advertisements, etc.), promoting, and

instructing others to use and/or how to implement a guardianship function at a mobile terminal in

the United States. For example, Verizon induces users of the Verizon Smart Family Service to

use one or more claimed inventions of the ’832 Patent by instructing users how to implement a

guardianship function at a mobile terminal, such as via the web pages above. On information

and belief, Verizon knows or should know that such activities induce others to directly infringe

at least claims 7-9 of the ’832 Patent.

       290.    On information and belief, Verizon contributes to the infringement of at least

claims 7-9 of the ’832 Patent by others, including its customers. Acts by Verizon that contribute

to the infringement of others include, but are not limited to, the sale, offer for sale, and/or

importation by Verizon of mobile terminals, such as cell phones and tablets, that operate Verizon

Smart Family Services. Such mobile terminals are especially made for or adapted for use to

infringe at least claims 7-9 of the ’832 Patent and are at least a material part of those claims, for

example, as described above with respect to claim 7. The Verizon Smart Family Services,

including the functionality contributing to infringement of the ’832 Patent, are not suitable for

substantial noninfringing use.

       291.    By way of at least Huawei’s notice to Verizon on March 29, 2019 (and this

Complaint), Verizon knows of the ’832 Patent and performs acts that it knows, or should know,




                                                 155
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 156 of 173




induce and/or contribute to the direct infringement of at least claims 7-9 of the ’832 Patent by

third parties.

        292.      Verizon undertook and continues its infringing actions despite an objectively high

likelihood that such activities infringed the ’832 Patent, which is presumed valid. For example,

Verizon has been aware of an objectively high likelihood that its actions constituted, and

continue to constitute, infringement of the ’832 Patent and that the ’832 Patent is valid since at

least March 29, 2019. Verizon could not reasonably subjectively believe that its actions do not

constitute infringement of the ’832 Patent, nor could it reasonably subjectively believe that

the ’832 Patent is invalid. Despite that knowledge, subjective belief, and the objectively high

likelihood that its actions constitute infringement, Verizon has continued its infringing activities.

As such, Verizon willfully infringes the ’832 Patent.

        293.      Huawei has been irreparably harmed by Verizon’s infringement of the ’832 Patent

and will continue to be harmed unless and until Verizon’s infringement is enjoined by this Court.

        294.      By its actions, Verizon has injured Huawei and is liable to Huawei for

infringement of the ’832 Patent pursuant to 35 U.S.C. § 271.

                 COUNT VII: INFRINGEMENT OF U.S. PATENT NO. 8,761,839

        295.      Huawei realleges and incorporates by reference paragraphs 1-294 above, as if

fully set forth herein.

        296.      The U.S. Patent Office duly and properly issued the ’839 Patent, entitled “Method

and Mobile Terminal for Processing Contacts,” on June 24, 2014. Huawei Device is the assignee

of all right, title, and interest in and to the ’839 Patent and possesses the exclusive right of

recovery for past, present, and future infringement. Each and every claim of the ’839 Patent is

valid and enforceable. A true and correct copy of the ’839 Patent is attached hereto as Exhibit G.




                                                  156
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 157 of 173




       297.    The ’839 Patent provides novel, useful and more effective and efficient

techniques for processing contacts in a mobile terminal, which enhance the capability of

intelligent interaction between the mobile terminal and the user, overcoming the problems of the

prior art and thereby improving the functioning of computer equipment. See the ’839 Patent at

Abstract.

       298.    The ’839 Patent is generally directed to a novel and inventive technical solution to

a problem relating to computer technology, and in particular to the problem of processing

contacts of a mobile terminal. See id. at 1:23-34. “A contact application is a program storing

specific contact information (such as names, portraits, or mobile phone numbers) of contacts

according to a present format.” Id. at 1:29-32. “A contact application interface is an interface

that is displayed on the touch screen of a mobile phone after the contact application receives a

command entered by a user.” Id. at 1:32-35. At the time of the ’839 Patent, on prior art contact

application interfaces, “contacts are displayed in name mode, and are arranged in rows simply

according to the initial letters or the stroke numbers of names.” Id. at 1:37-40. Also, in the prior

art, “contacts are displayed in portrait and name mode, and are arranged simply to form a 9-block

vision, a 12-block vision, and so on.” Id. at 1:40-42. The ’839 Patent explains that “the modes

for processing contacts by the mobile terminal in the prior art cannot reflect different contacts in

an intuit manner, which reduces the capability of intelligent interaction between the mobile

terminal and the user.” Id. at 1:42-46.

       299.    The inventions of the ’839 Patent provide technical solutions to the problems in

the prior art described above. The ’839 Patent describes, for example, that in accordance with

the techniques of the ’839 Patent, the “mobile terminal sets a mapping relationship between an

attribute value of an attribute of a contact and a display effect of a contact bubble corresponding




                                                157
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 158 of 173




to the contact.” See, e.g., the ’839 Patent at 1:52-55. The ’839 Patent further describes that the

“mobile terminal obtains the attribute value locally or from a network device and determines the

display effect of the contact bubble according to the mapping relationship and the distinctive

attribute value. The mobile terminal then displays the contact bubble on a screen of the mobile

terminal according to the attribute value of the contact.” Id. at 1:55-60; see also Fig. 3. As the

patent explains: “The mapping relationship between different values of distinctive attributes of

contacts and display effects of contact icons is specifically a mapping relationship between

contacts with distinctive attributes of different values and display effects of icons.” Id. at 3:58-

62. Thus, according to these and other solutions taught in the ’839 Patent, “different contacts

can be displayed intuitively in a mobile terminal, which enhances the capability of intelligent

interaction between the mobile terminal and a user.” Id. at 2:7-12. The result is a “distinctive

display,” with enhanced contact bubbles that is “different from the display mode (contact list) of

contacts in the prior art” that “displays contacts more intuitively on the touch screen, to enhance

the capability of a man-machine interaction of the mobile terminal having a touch screen, and

also improves the user experience.” See id. at 4:2-10.

       300.    As further described in the ’839 Patent, for example, a “location of a contact

bubble may also be indicated by values in the X and Y directions. First, the size of a contact

bubble may be calculated through junction points between bubble edges and grids, and then the

contact bubble is simulated into a square. The size of the contact bubble is also the size of the

square. According to calculation of the square size, location information (X1, Y1) of the center

point of the contact bubble is obtained, and the location information (X1, Y1) of the center point

is used as the location information of the contact bubble, where X1 is the value of the center




                                                 158
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 159 of 173




point in the X direction, and Y1 is the value of the center point in the Y direction.” Id. at 11:19-

30.

       301.    The ’839 Patent also teaches, for example, “matching” a touch point of a user to

location information of a certain contact bubble: “Specifically, the matching method may be:

calculating a distance between location information (X1, Y1) of a contact bubble and location

information (X2, Y2) of a touch point. If the calculated result is smaller than a preset value, it is

regarded that the matching succeeds, and a contact selection command is triggered. If the

matching does not succeed, it is regarded that the touch point is an invalid touch point, and no

operation command is triggered or a prompt command is triggered, where the prompt command

is used to prompt the user that the touch point is an invalid touch point.” Id. at 11:50-60.

       302.    The ’839 Patent further teaches that “when a user uses a finger to touch a contact

on a screen, a mobile terminal may obtain an operation command of the user through a touch

screen.” Id. at 11:64-67. The “operation track of a user” is obtained, and the selected contact

bubble can be moved according to the operation track. Id. at 12:9-14.

       303.    Specific methods are taught by the ’839 Patent to determine whether the “contact

bubble has an overlapping area with a preset call area,” which may result in calling the contact.

Id. 12:14-13:10.

       304.    The inventions of the ’839 Patent improve computer functionality by improving

and solving problems in a mobile terminal’s capability of intelligent interaction with a user,

providing a “distinctive display” for a contact application interface. The inventions of the ’839

Patent provide a computer-based solution to a computer-specific problem. The inventions of

the ’839 Patent are improvements over the prior art and other techniques for the processing and




                                                 159
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 160 of 173




display of contacts, and the ’839 Patent enables a combination of features not present in the prior

art and other techniques.

       305.    For example, the inventions of the ’839 Patent provide for improved computer

operation by providing a solution that “is different from the display mode (contact list) of

contacts in the prior art, and displays the contacts more intuitively on the touch screen, to

enhance the capability of man-machine interaction of the mobile terminal having a touch screen,

and also improves the user experience,” including a “distinctive display” in which “contacts with

distractive attributes of different values are displayed according to the mapping relationship by

using different display effects.” ’839 Patent at 4:2-10.

       306.    By way of further example, the inventions of the ’839 Patent provide for

improved computer operation by providing a solution in which “the call processing of a contact

can be completed by only moving fingers simply, which saves the time for a user to perform call

operations, greatly improves the capability of intelligent interaction of a mobile terminal, and

improves the user experience of the user.” ’839 Patent at 13:66-14:4.

       307.    As such, the ’839 inventions thereby provide a contact application interface with a

distinctive display which allows the mobile terminal to intuitively interact with users, with an

improved user experience, which represents a concrete improvement over prior art techniques.

       308.    The claims of the ’839 Patent contain an inventive concept improve the

functioning of computers devices. Claims 1, 3, 5, 10-11, and 15-17 claim ordered combinations

of activities of a computer device that were new, novel, innovative, and unconventional at the

time the ’839 Patent application was filed. These ordered combinations are set forth in at least

claims 1, 3, 5, 10-11, and 15-17 of the ’839 Patent. The ordered combinations of elements in

claims 1, 3, 5, 10-11, and 15-17 were not well understood, routine or conventional at the time




                                                160
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 161 of 173




the ’839 Patent application was filed. The ordered combinations of the inventions of claims 1, 3,

5, 10-11, and 15-17 are practical, particular, non-conventional, and non-generic techniques of

processing contacts of a mobile terminal.

       309.    In violation of 35 U.S.C. § 271, Verizon has directly infringed, contributed to the

infringement of, and/or induced others to infringe at least claims 1, 3, 5, 10-11, and 15-17 of

the ’839 Patent by, among other things, making, using, offering for sale, selling, and/or

importing into the United States unlicensed systems, products, and/or services that infringe such

claims of the ’839 Patent. Such unlicensed systems, products, and/or services include, by way of

example and without limitation, Verizon’s One Talk application, which allows for conference

call management using enhanced contact bubbles. In addition, users of Verizon’s One Talk

application infringe at least claims 1, 3, 5, 10-11, and 15-17 of the ’839 Patent by, for example,

using the capabilities of Verizon’s One Talk application to provide for conference call

management using enhanced contact bubbles on a mobile terminal. See, e.g., “One Talk -

Handling multiple mobile calls: Verizon Tutorial Video,” available at

https://www.youtube.com/watch?v=pEoQm0blmCo (“Tutorial Video”).

       310.    With respect to at least claims 1, 3, 5, 10-11, and 15-17, Verizon’s One Talk

application sets a mapping relationship between an attribute value of an attribute of a contact and

a display effect of a contact bubble corresponding to the contact. See, e.g., Tutorial Video at

0:29 (“All of your current calls are displayed as bubbles on the top of your screen”) (changing

contact bubble for “Jim” to reflect currently active call):




                                                 161
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 162 of 173




       311.    Verizon’s One Talk application obtains the attribute value, e.g., a value indicating

whether the call is active, locally or from a network device.

       312.    Verizon’s One Talk application determines the display effect of the contact

bubble according to the mapping relationship and the distinctive attribute value. See, e.g.,

Tutorial Video (determining whether to display a contact’s photo or a fixed icon according to

whether that contact is currently active or on hold):




                                                162
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 163 of 173




       313.    Verizon’s One Talk application displays the contact bubble on a screen of the

mobile terminal according to the attribute value of the contact. See, e.g., Tutorial Video

(displaying the contact bubbles according to their active or on-hold status):




       314.    With respect to claim 3, the attribute in Verizon’s One Talk application comprises

a contact attribute that indicates time of communication between the mobile terminal and the

contact within a preset time. See, e.g., Tutorial Video at 0:29 (showing call time for “Jim”):




       315.    With respect to claim 5, the attribute in Verizon’s One Talk application comprises

a group attribute and a contact attribute, a value of the mapping relationship is a sum of values of


                                                163
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 164 of 173




the group attribute and the contact attribute of the contact. See, e.g., “One Talk - Using 6-way

Conference Calling: Verizon Tutorial Video,” available at

https://www.youtube.com/watch?v=KZsxX4lfD84 at 0:31: (displaying either a contact’s photo

or a fixed icon according to whether that contact is part of the “Conference” group and also

reflecting whether the contact is currently active):




                                                164
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 165 of 173




       316.    With respect to claim 10, Verizon’s One Talk application obtains a contact

selection command of a user of the mobile terminal, and determines at least one contact bubble;

obtains an operation track of the user; moves the at least one contact bubble according to the

operation track; determines that the at least one contact bubble overlaps a preset call area; and

calls the contact represented by the at least one contact bubbles after the determination. See, e.g.,

Tutorial Video at 0:39 (“To merge calls for a group conversation, just drag a call on hold over

your currently active call”):




                                                165
Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 166 of 173




                              166
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 167 of 173




       317.    With respect to claim 11, Verizon’s One Talk application determines that the at

least one contact bubble overlaps the preset call area when location information of an edge point

of the at least one contact bubble is location information of a point within the preset call area;

and determines that the at least one contact bubble overlaps the preset call area when a distance


                                                 167
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 168 of 173




between location information of the at least one contact bubble and location information of the

preset call area is within a preset value, wherein the location information is physical location data

on the screen. See, e.g., Tutorial Video at 0:39 (“To merge calls for a group conversation, just

drag a call on hold over your currently active call”):




                                                168
        Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 169 of 173




        318.    With respect to claims 15-17, a Verizon smartphones and/or tablet running

Verizon’s One Talk application is an electronic device comprising a screen, one or more

processors, memory coupled to the one or more processors, wherein the processors are

configured to perform the operations recited in paragraphs 310 through 317 above.

        319.    As such, on information and belief, Verizon has directly infringed at least claims

1, 3, 5, 10-11, and 15-17 of the ’839 Patent by at least, for example, performing testing of

Verizon’s One Talk application in the United States, in violation of 35 U.S.C. § 271(a).

        320.    On information and belief, Verizon has infringed at least claims 1, 3, 5, 10-11,

and 15-17 of the ’839 Patent by inducing others, including users of Verizon’s One Talk

application that it sells and/or offers, to infringe at least claims 1, 3, 5, 10-11, and 15-17 of

the ’839 Patent in violation of 35 U.S.C. § 271(b).

        321.    On information and belief, Verizon takes active steps to induce infringement of at

least claims 1, 3, 5, 10-11, and 15-17 of the ’839 Patent by others, including its customers, and




                                                  169
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 170 of 173




Verizon takes such active steps knowing that those steps will induce, encourage and facilitate

direct infringement by others. Such active steps include, but are not limited to, encouraging,

advertising (including by internet websites, television, store displays, print advertisements, etc.),

promoting, and instructing others to use and/or how to engage in conference call management

using enhanced contact bubbles on a mobile terminal in the United States. For example,

Verizon induces users of Verizon’s One Talk application to use one or more claimed inventions

of the ’839 Patent by instructing users how to engage in conference call management using

enhanced contact bubbles on a mobile terminal. See, e.g., Tutorial Video. On information and

belief, Verizon knows or should know that such activities induce others to directly infringe at

least claims 1, 3, 5, 10-11, and 15-17 of the ’839 Patent.

       322.    On information and belief, Verizon contributes to the infringement of at least

claims 1, 3, 5, 10-11, and 15-17 of the ’839 Patent by others, including its customers. Acts by

Verizon that contribute to the infringement of others include, but are not limited to, the sale,

offer for sale, and/or importation by Verizon of mobile terminals, such as cell phones and tablets,

that operate Verizon’s One Talk application. Such mobile terminals are especially made for or

adapted for use to infringe at least claims 1, 3, 5, 10-11, and 15-17 of the ’839 Patent and are at

least a material part of those claims, for example, as described above with respect to claim 7.

Verizon’s One Talk application, including the functionality contributing to infringement of

the ’839 Patent, is not suitable for substantial noninfringing use.

       323.    By way of at least this Complaint, Verizon knows of the ’839 Patent and performs

acts that it knows, or should know, induce the direct infringement of at least claims 1, 3, 5, 10-

11, and 15-17 of the ’839 Patent by third parties.




                                                 170
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 171 of 173




       324.    Verizon undertook and continues its infringing actions despite an objectively high

likelihood that such activities infringed the ’839 Patent, which is presumed valid. For example,

Verizon has been aware of an objectively high likelihood that its actions constituted, and

continue to constitute, infringement of the ’839 Patent and that the ’839 Patent is valid since at

least the filing of this action. Verizon could not reasonably subjectively believe that its actions

do not constitute infringement of the ’839 Patent, nor could it reasonably subjectively believe

that the ’839 Patent is invalid. Despite that knowledge, subjective belief, and the objectively

high likelihood that its actions constitute infringement, Verizon has continued its infringing

activities. As such, Verizon willfully infringes the ’839 Patent.

       325.    Huawei has been irreparably harmed by Verizon’s infringement of the ’839 Patent

and will continue to be harmed unless and until Verizon’s infringement is enjoined by this Court.

       326.    By its actions, Verizon has injured Huawei and is liable to Huawei for

infringement of the ’839 Patent pursuant to 35 U.S.C. § 271.

                                 DEMAND FOR JURY TRIAL

       327.    Huawei hereby demands trial by jury on all claims and issues so triable.

                                     PRAYER FOR RELIEF

       328.    Wherefore, Huawei respectfully requests that this Court enter judgment against

Verizon for the Asserted Patents as follows:

       A.      Finding that each of the Asserted Patents has been infringed by Verizon;

       B.      Finding that Verizon’s infringement of the Asserted Patents has been willful;

       C.      Awarding damages adequate to compensate Huawei for the patent infringement

               that has occurred, in accordance with 35 U.S.C. § 284, including an assessment of

               pre-judgment and post-judgment interest and costs, and an accounting as

               appropriate for infringing activity not captured within any applicable jury verdict;


                                                171
       Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 172 of 173




       D.     Awarding Huawei an ongoing royalty for Verizon’s post-verdict infringement,

              payable on each product or service offered by Verizon that is found to infringe

              one or more of the Asserted Patents, and on all future products and services that

              are not colorably different from those found to infringe, or – in the alternative if

              Verizon refuses the ongoing royalty – permanently enjoining Verizon from

              further infringement;

       E.     Providing an award of all other damages permitted by 35 U.S.C. § 284, including

              increased damages up to three times the amount of compensatory damages found;

       F.     Finding that this is an exceptional case and an award to Huawei of its costs,

              expenses, and reasonable attorneys’ fees incurred in this action as provided by 35

              U.S.C. § 285; and

       G.     Providing such other relief, including other monetary and equitable relief, as this

              Court deems just and proper.



Dated: February 5, 2020                              Respectfully submitted,

                                                 By: /s/ Thomas H. Reger II
                                                     Ruffin B. Cordell (pro hac vice to be filed)
                                                     cordell@fr.com
                                                     FISH & RICHARDSON P.C.
                                                     100 Maine Avenue, S.W.
                                                     Washington, D.C. 20024
                                                     Telephone: (202) 783-5070
                                                     Facsimile: (202) 783-2331

                                                      David Barkan (pro hac vice to be filed)
                                                      California Bar No. 160825
                                                      barkan@fr.com
                                                      FISH & RICHARDSON P.C.
                                                      500 Arguello Street, Suite 500 Redwood
                                                      City, CA 94063
                                                      Telephone: (650) 839-5070
                                                      Facsimile: (650) 839-5071


                                               172
Case 6:20-cv-00090-ADA Document 1 Filed 02/05/20 Page 173 of 173




                                    Thomas H. Reger II
                                    Texas Bar No. 24032992
                                    reger@fr.com
                                    FISH & RICHARDSON P.C.
                                    1717 Main Street, Suite 5000
                                    Dallas, TX 75201
                                    Telephone: (214) 747-5070
                                    Facsimile: (214) 747-2091

                                    Brian G. Strand
                                    Texas Bar No. 24081166
                                    strand@fr.com
                                    FISH & RICHARDSON P.C.
                                    1221 McKinney Street, Suite 2800
                                    Houston, TX 77010
                                    Telephone: (713) 654-5300
                                    Facsimile: (713) 652-0109

                                    John P. Palmer
                                    Texas Bar No. 15430600
                                    palmer@namanhowell.com
                                    NAMAN, HOWELL, SMITH & LEE,
                                    PLLC
                                    400 Austin Ave., Suite 800
                                    P.O. Box 1470
                                    Waco, Texas 76703
                                    Phone: (254) 755-4100
                                    Fax: (254) 754-6331

                                    COUNSEL FOR PLAINTIFFS HUAWEI
                                    TECHNOLOGIES CO., LTD.,
                                    HUAWEI DEVICE CO., LTD., AND
                                    HUAWEI DIGITAL TECHNOLOGIES
                                    (CHENGDU) CO., LTD




                              173
